Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 1 of 267


          sent to? I’m searching our records now. We may not be
          able to get you a comprehensive answer this morning.

          Kaveh


          From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
          Sent: Sunday, March 8, 2020 5:58 PM
          To: Miremadi, Kaveh <Kaveh.Miremadi@treasury.gov>; Van
          Wagenberg, Maria-Helene
          <MariaHelene.VanWagenberg@treasury.gov>; Brewer,
          Jacqueline <Jacqueline.Brewer@treasury.gov>
          Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>;
          Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>;
          Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett
          (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>
          Subject: Time Sensitive Question


          ** Caution: External email. Pay attention to suspicious
          links and attachments. Send suspicious email to
          suspect@treasury.gov **




          Kaveh, Maria, and Jacqui:

          I’m attaching a letter dated June 16, 2011, from
          Commerzbank to OFAC concerning a specific payment.
          Could you please let us know what actions OFAC took in
          response to this letter? We need to update the Court on
          this issue tomorrow morning, so any information would be
          hugely appreciated.

          Thank you in advance,
          Jane


          Jane Kim
          Assistant United States Attorney
          Southern District of New York
          One St. Andrew’s Plaza
          New York, New York 10007
          Phone: (212) 637-2038
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 2 of 267


          Email: jane.kim@usdoj.gov
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 3 of 267




                 EXHIBIT 66
      Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 4 of 267


From:                 Graff, Ilan (USANYS)
To:                   Crowley, Shawn (USANYS)
Subject:              FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Date:                 Monday, March 09, 2020 4:21:52 PM


This is because I’m going to take a final look at the Declarations post-roast.



From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Sent: Monday, March 9, 2020 4:21 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>; Graff, Ilan (USANYS) <IGraff@usa.doj.gov>
Subject: Re: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Shawn
Please send all docs you sent me today to Ilan as well.
Thnx
Audrey

Sent from my iPhone



       On Mar 9, 2020, at 3:49 PM, Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
       wrote:

       ﻿
       Here is the order referred to in the letter (3.08.20), and the subsequent order asking us
       to be prepared to explain how we made clear that GX 411 had been newly marked
       (3.9.20).


       From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
       Sent: Monday, March 09, 2020 3:47 PM
       To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
       Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

           Pls also send the court’s order referred to in letter you just sent.
           Thanks


       From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
       Sent: Monday, March 9, 2020 3:24 PM
       To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Bove, Emil (USANYS)
       <EBove@usa.doj.gov>
       Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
       Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 5 of 267


Thanks. Attaching the email chain in which we produce GX 411 (Saturday at 4:04 p.m.)
as well as the letter we filed with Judge Nathan in which we represent that we “made
clear that GX 411 was a newly marked exhibit and that we intended to offer it.”


From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Sent: Monday, March 09, 2020 3:17 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS)
<EBove@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

I am trying to review this transcript but I think I am missing a document--- our letter to
the defense that the judge views as not fully candid.
Would you pls send?
Thanks.


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 2:22 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Birger, Laura (USANYS)
<LBirger@usa.doj.gov>
Cc: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Subject: Fwd: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

﻿This is the transcript from this morning before Judge Nathan. As Laura knows, the
 AUSAs are scrubbing their files and drafting their declarations.



Begin forwarded message:

      From: "DeLuca, Michael (USANYS) [Contractor]" <MDeLuca@usa.doj.gov>
      Date: March 9, 2020 at 2:05:16 PM EDT
      To: "Bove, Emil (USANYS)" <EBove@usa.doj.gov>, "Crowley, Shawn
      (USANYS)" <SCrowley@usa.doj.gov>
      Subject: FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224
      (AJN)

      ﻿



          From: Goretti Moya <gmoya@sdreporters.com>
          Sent: Monday, March 9, 2020 2:05 PM
          To: DeLuca, Michael (USANYS) [Contractor] <MDeLuca@usa.doj.gov>
          Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 6 of 267




     From: DeLuca, Michael (USANYS) [Contractor]
     <Michael.DeLuca@usdoj.gov>
     Sent: Monday, March 09, 2020 10:43 AM
     To: Info <Info@sdreporters.com>; reporters
     <reporters@sdreporters.com>
     Subject: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

     Good morning – We have a time-sensitive request for this morning’s
     transcript in the ongoing trial in front of Judge Nathan, US v. Ali Sadr
     Hashemi Nejad, Case No. 18-cr-224 (AJN). We are requesting a copy of
     this morning’s transcript (from before the jury entered the courtroom) as
     soon as possible, and will pay any fees associated with the expedited
     request.

     Could you please let me know when we would be able to get this? I’m
     sorry for the urgent request and I appreciate your help.

     Thank you,
     Michael

     Michael DeLuca
     Paralegal, Terrorism & International Narcotics Unit
     U.S. Attorney’s Office, SDNY
     Desk: (212) 637-2248
     Cell: (646) 265-8172
<18cr224 Order 3.08.20.pdf>
<18cr224 Order 3.9.20.pdf>
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 7 of 267




                 EXHIBIT 67
        Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 8 of 267


From:             Kaveh.Miremadi@treasury.gov
To:               Kim, Jane (USANYS) 4
Cc:               Bove, Emil (USANYS); MariaHelene.VanWagenberg@treasury.gov; Jacqueline.Brewer@treasury.gov; Lake,
                  Stephanie (USANYS); Krouse, Michael (USANYS); LynchG@dany.nyc.gov; Lynch, Garrett (USANYS) [Contractor];
                  Crowley, Shawn (USANYS)
Subject:          Re: Time Sensitive Question
Date:             Monday, March 09, 2020 4:36:15 PM


I’m available now for a call. Thanks.




From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Date: March 9, 2020 at 4:07:18 PM EDT
To: Miremadi, Kaveh <Kaveh.Miremadi@treasury.gov>
Cc: Bove, Emil (USANYS) <Emil.Bove@usdoj.gov>, Van Wagenberg, Maria-Helene
<MariaHelene.VanWagenberg@treasury.gov>, Brewer, Jacqueline
<Jacqueline.Brewer@treasury.gov>, Lake, Stephanie (USANYS)
<Stephanie.Lake@usdoj.gov>, Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>,
LynchG@dany.nyc.gov <LynchG@dany.nyc.gov>, Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>, Crowley, Shawn (USANYS) <Shawn.Crowley@usdoj.gov>
Subject: Re: Time Sensitive Question


** Caution: External email. Pay attention to suspicious links and attachments. Send
suspicious email to suspect@treasury.gov **




Kaveh, just tried your cell. Please let me know when you’re free to talk. Thanks.

On Mar 9, 2020, at 10:50 AM, "Kaveh.Miremadi@treasury.gov"
<Kaveh.Miremadi@treasury.gov> wrote:


        Cell: 202-746-4485


        From: Bove, Emil (USANYS) <Emil.Bove@usdoj.gov>
        Sent: Monday, March 9, 2020 10:25 AM
        To: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
        Cc: Miremadi, Kaveh <Kaveh.Miremadi@treasury.gov>; Van Wagenberg, Maria-Helene
        <MariaHelene.VanWagenberg@treasury.gov>; Brewer, Jacqueline
        <Jacqueline.Brewer@treasury.gov>; Lake, Stephanie (USANYS)
        <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS)
        <Michael.Krouse@usdoj.gov>; LynchG@dany.nyc.gov; Lynch, Garrett (USANYS)
        [Contractor] <Garrett.Lynch@usdoj.gov>; Crowley, Shawn (USANYS)
        <Shawn.Crowley@usdoj.gov>
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 9 of 267


Subject: Re: Time Sensitive Question


** Caution: External email. Pay attention to suspicious links and attachments.
Send suspicious email to suspect@treasury.gov **




Hi Kaveh, what number can we reach you at?

On Mar 9, 2020, at 10:04 AM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov> wrote:

      I don’t. I’m adding my Chiefs to this chain.

      On Mar 9, 2020, at 9:23 AM, "Kaveh.Miremadi@treasury.gov"
      <Kaveh.Miremadi@treasury.gov> wrote:

             Hi Jane,

             Do you know who or what division in OFAC this letter was
             sent to? I’m searching our records now. We may not be
             able to get you a comprehensive answer this morning.

             Kaveh


             From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
             Sent: Sunday, March 8, 2020 5:58 PM
             To: Miremadi, Kaveh <Kaveh.Miremadi@treasury.gov>; Van
             Wagenberg, Maria-Helene
             <MariaHelene.VanWagenberg@treasury.gov>; Brewer,
             Jacqueline <Jacqueline.Brewer@treasury.gov>
             Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>;
             Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>;
             Lynch, Garrett <LynchG@dany.nyc.gov>; Lynch, Garrett
             (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>
             Subject: Time Sensitive Question


             ** Caution: External email. Pay attention to suspicious
             links and attachments. Send suspicious email to
             suspect@treasury.gov **
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 10 of 267




          Kaveh, Maria, and Jacqui:

          I’m attaching a letter dated June 16, 2011, from
          Commerzbank to OFAC concerning a specific payment.
          Could you please let us know what actions OFAC took in
          response to this letter? We need to update the Court on
          this issue tomorrow morning, so any information would be
          hugely appreciated.

          Thank you in advance,
          Jane


          Jane Kim
          Assistant United States Attorney
          Southern District of New York
          One St. Andrew’s Plaza
          New York, New York 10007
          Phone: (212) 637-2038
          Email: jane.kim@usdoj.gov
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 11 of 267




                 EXHIBIT 68
     Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 12 of 267


From:          Laroche, Matthew (USANYS)
To:            Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:       Laroche Declaration Sadr.docx
Date:          Monday, March 09, 2020 4:46:44 PM
Attachments:   Laroche Declaration Sadr.docx
      Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 13 of 267




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                               DECLARATION
                -v.-
                                                               18 Cr. 224 (ALC)
 ALI SADR HASHEMI NEJAD,

                Defendant.


               I, Matthew Laroche, pursuant to Title 28, United States Code, Section 1746,

declare under penalty of perjury:

               1.      I am an attorney admitted to the bar of the State of New York and the bar

of this Court, and one of the Assistant United States Attorneys for the Southern District of New

York previously responsible for this matter. From April 2017 through March 2019, I was one of

the Assistant United States Attorneys assigned to this case. Prior to preparing this declaration, I

reviewed my records related to this case, including emails, notes, and documents.

               2.      Today, I was shown a document marked as identification as Government

Exhibit 411, which consists of a June 16, 2011 letter from Commerzbank AG to the Department

of the Treasury, Office of Foreign Assets Control (“OFAC”). I have no record of that letter and

do not recall seeing it before today, although I am aware that the Government produced subpoena

returns for Commerzbank AG in discovery.

               3.      While I was assigned to this case, in September 2017, I participated in a

phone call with another member of the prosecution team, who is currently on the trial team, and

officials from OFAC. It was my understanding from that call that OFAC was not aware of our

investigation and was otherwise not investigating any matter related to the defendant. Following

that call, on September 26, 2017, I received an email in which an OFAC member copied others



                                                1
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from OFAC and stated that they would follow-up with any questions. I have no record of any

follow-up questions from OFAC and I do not recall participating in any other phone calls with

OFAC related to this case.

               I declare under penalty of perjury that, to the best of my knowledge, the foregoing

information is true and correct.

Dated:         New York, New York
               March 9, 2020

                                                    _________________________________
                                                    Matthew Laroche
                                                    Assistant United States Attorney




                                                2
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                 EXHIBIT 69
     Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 16 of 267


From:            Graff, Ilan (USANYS)
To:              Crowley, Shawn (USANYS)
Subject:         Re: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Date:            Monday, March 09, 2020 4:49:33 PM


Sweet.


       On Mar 9, 2020, at 4:41 PM, Crowley, Shawn (USANYS)
       <SCrowley@usa.doj.gov> wrote:


       ﻿
       Of course. We just left court. Judge Nathan is going to take our representations in
       a letter instead of declarations.


             On Mar 9, 2020, at 4:20 PM, Strauss, Audrey (USANYS)
             <AStrauss@usa.doj.gov> wrote:


             ﻿ Shawn
             Please send all docs you sent me today to Ilan as well.
              Thnx
              Audrey

             Sent from my iPhone


                        On Mar 9, 2020, at 3:49 PM, Crowley, Shawn
                        (USANYS) <SCrowley@usa.doj.gov> wrote:


                    ﻿
                        Here is the order referred to in the letter (3.08.20), and the
                        subsequent order asking us to be prepared to explain how
                        we made clear that GX 411 had been newly marked
                        (3.9.20).

                        From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
                        Sent: Monday, March 09, 2020 3:47 PM
                        To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
                        Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No.
                        18-cr-224 (AJN)

                        Pls also send the court’s order referred to in letter you just
                        sent.
                        Thanks
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 17 of 267


          From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
          Sent: Monday, March 9, 2020 3:24 PM
          To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>;
          Bove, Emil (USANYS) <EBove@usa.doj.gov>
          Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
          Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No.
          18-cr-224 (AJN)

          Thanks. Attaching the email chain in which we produce GX
          411 (Saturday at 4:04 p.m.) as well as the letter we filed with
          Judge Nathan in which we represent that we “made clear
          that GX 411 was a newly marked exhibit and that we
          intended to offer it.”

          From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
          Sent: Monday, March 09, 2020 3:17 PM
          To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>;
          Bove, Emil (USANYS) <EBove@usa.doj.gov>
          Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
          Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No.
          18-cr-224 (AJN)

          I am trying to review this transcript but I think I am missing a
          document--- our letter to the defense that the judge views
          as not fully candid.
          Would you pls send?
          Thanks.


          From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
          Sent: Monday, March 9, 2020 2:22 PM
          To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>;
          Birger, Laura (USANYS) <LBirger@usa.doj.gov>
          Cc: Bove, Emil (USANYS) <EBove@usa.doj.gov>
          Subject: Fwd: Transcript - Ali Sadr Hashemi Nejad, Case No.
          18-cr-224 (AJN)

          ﻿This is the transcript from this morning before Judge Nathan.
           As Laura knows, the AUSAs are scrubbing their files and
           drafting their declarations.



          Begin forwarded message:

                 From: "DeLuca, Michael (USANYS)
                 [Contractor]" <MDeLuca@usa.doj.gov>
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 18 of 267


               Date: March 9, 2020 at 2:05:16 PM EDT
               To: "Bove, Emil (USANYS)"
               <EBove@usa.doj.gov>, "Crowley, Shawn
               (USANYS)" <SCrowley@usa.doj.gov>
               Subject: FW: Transcript - Ali Sadr Hashemi
               Nejad, Case No. 18-cr-224 (AJN)

               ﻿



                   From: Goretti Moya
                   <gmoya@sdreporters.com>
                   Sent: Monday, March 9, 2020 2:05 PM
                   To: DeLuca, Michael (USANYS) [Contractor]
                   <MDeLuca@usa.doj.gov>
                   Subject: RE: Transcript - Ali Sadr Hashemi
                   Nejad, Case No. 18-cr-224 (AJN)




                   From: DeLuca, Michael (USANYS) [Contractor]
                   <Michael.DeLuca@usdoj.gov>
                   Sent: Monday, March 09, 2020 10:43 AM
                   To: Info <Info@sdreporters.com>; reporters
                   <reporters@sdreporters.com>
                   Subject: Transcript - Ali Sadr Hashemi Nejad,
                   Case No. 18-cr-224 (AJN)

                   Good morning – We have a time-sensitive
                   request for this morning’s transcript in the
                   ongoing trial in front of Judge Nathan, US v. Ali
                   Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN).
                   We are requesting a copy of this morning’s
                   transcript (from before the jury entered the
                   courtroom) as soon as possible, and will pay
                   any fees associated with the expedited request.

                   Could you please let me know when we would
                   be able to get this? I’m sorry for the urgent
                   request and I appreciate your help.

                   Thank you,
                   Michael

                   Michael DeLuca
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 19 of 267


               Paralegal, Terrorism & International Narcotics
               Unit
               U.S. Attorney’s Office, SDNY
               Desk: (212) 637-2248
               Cell: (646) 265-8172
          <18cr224 Order 3.08.20.pdf>
          <18cr224 Order 3.9.20.pdf>
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 20 of 267




                 EXHIBIT 70
     Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 21 of 267


From:             Crowley, Shawn (USANYS)
To:               Lynch, Garrett
Subject:          Re: Draft-Declaration-Template.docx
Date:             Monday, March 09, 2020 4:55:00 PM


Can you call me again? 212-637-1034


       On Mar 9, 2020, at 3:43 PM, Lynch, Garrett <LynchG@dany.nyc.gov> wrote:


       ﻿
       Shawn, we’ve spoken to four out of the five other people who ever touched this case.
       They’re all over the place (including Ireland), and only one still works here (but is out of
       the office). Can I represent in my declaration that we spoke with them?

       From: Crowley, Shawn (USANYS) [mailto:Shawn.Crowley@usdoj.gov]
       Sent: Monday, March 9, 2020 3:38 PM
       To: Laroche, Matthew (USANYS) <Matthew.Laroche@usdoj.gov>; Denton, David
       (USANYS) <David.Denton@usdoj.gov>; Lake, Stephanie (USANYS)
       <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS)
       <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
       Garrett <LynchG@dany.nyc.gov>; DeFilippis, Andrew (USANYS)
       <Andrew.DeFilippis@usdoj.gov>
       Subject: Draft-Declaration-Template.docx




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       confidential information from the New York County District Attorney's Office
       and are intended solely for the use of the individuals or entity to whom it has been
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       this email in error, please delete it and notify the sender by return email.
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                 EXHIBIT 71
     Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 23 of 267


From:                Birger, Laura (USANYS)
To:                  Crowley, Shawn (USANYS); Strauss, Audrey (USANYS)
Cc:                  Graff, Ilan (USANYS); Bove, Emil (USANYS)
Subject:             RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Date:                Monday, March 09, 2020 4:59:11 PM


Good development. When do we need to file the letter?


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 4:42 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>; Graff, Ilan (USANYS) <IGraff@usa.doj.gov>; Bove,
Emil (USANYS) <EBove@usa.doj.gov>
Subject: Re: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Of course. We just left court. Judge Nathan is going to take our representations in a letter instead of
declarations.



       On Mar 9, 2020, at 4:20 PM, Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov> wrote:

       ﻿ Shawn
        Please send all docs you sent me today to Ilan as well.
        Thnx
        Audrey

       Sent from my iPhone



                 On Mar 9, 2020, at 3:49 PM, Crowley, Shawn (USANYS)
                 <SCrowley@usa.doj.gov> wrote:

             ﻿
             Here is the order referred to in the letter (3.08.20), and the subsequent
             order asking us to be prepared to explain how we made clear that GX 411
             had been newly marked (3.9.20).


             From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
             Sent: Monday, March 09, 2020 3:47 PM
             To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
             Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

                 Pls also send the court’s order referred to in letter you just sent.
                 Thanks
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 24 of 267


     From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
     Sent: Monday, March 9, 2020 3:24 PM
     To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Bove, Emil
     (USANYS) <EBove@usa.doj.gov>
     Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
     Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

     Thanks. Attaching the email chain in which we produce GX 411 (Saturday
     at 4:04 p.m.) as well as the letter we filed with Judge Nathan in which we
     represent that we “made clear that GX 411 was a newly marked exhibit
     and that we intended to offer it.”


     From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
     Sent: Monday, March 09, 2020 3:17 PM
     To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil
     (USANYS) <EBove@usa.doj.gov>
     Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
     Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

     I am trying to review this transcript but I think I am missing a document---
     our letter to the defense that the judge views as not fully candid.
     Would you pls send?
     Thanks.


     From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
     Sent: Monday, March 9, 2020 2:22 PM
     To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Birger, Laura
     (USANYS) <LBirger@usa.doj.gov>
     Cc: Bove, Emil (USANYS) <EBove@usa.doj.gov>
     Subject: Fwd: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224
     (AJN)

     ﻿This is the transcript from this morning before Judge Nathan. As Laura
      knows, the AUSAs are scrubbing their files and drafting their declarations.



     Begin forwarded message:

           From: "DeLuca, Michael (USANYS) [Contractor]"
           <MDeLuca@usa.doj.gov>
           Date: March 9, 2020 at 2:05:16 PM EDT
           To: "Bove, Emil (USANYS)" <EBove@usa.doj.gov>, "Crowley,
           Shawn (USANYS)" <SCrowley@usa.doj.gov>
           Subject: FW: Transcript - Ali Sadr Hashemi Nejad, Case No.
           18-cr-224 (AJN)
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 25 of 267



          ﻿



          From: Goretti Moya <gmoya@sdreporters.com>
          Sent: Monday, March 9, 2020 2:05 PM
          To: DeLuca, Michael (USANYS) [Contractor]
          <MDeLuca@usa.doj.gov>
          Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No.
          18-cr-224 (AJN)




          From: DeLuca, Michael (USANYS) [Contractor]
          <Michael.DeLuca@usdoj.gov>
          Sent: Monday, March 09, 2020 10:43 AM
          To: Info <Info@sdreporters.com>; reporters
          <reporters@sdreporters.com>
          Subject: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-
          224 (AJN)

          Good morning – We have a time-sensitive request for this
          morning’s transcript in the ongoing trial in front of Judge
          Nathan, US v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224
          (AJN). We are requesting a copy of this morning’s transcript
          (from before the jury entered the courtroom) as soon as
          possible, and will pay any fees associated with the expedited
          request.

          Could you please let me know when we would be able to get
          this? I’m sorry for the urgent request and I appreciate your
          help.

          Thank you,
          Michael

          Michael DeLuca
          Paralegal, Terrorism & International Narcotics Unit
          U.S. Attorney’s Office, SDNY
          Desk: (212) 637-2248
          Cell: (646) 265-8172
     <18cr224 Order 3.08.20.pdf>
     <18cr224 Order 3.9.20.pdf>
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 26 of 267




                 EXHIBIT 72
      Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 27 of 267


From:               Lynch, Garrett
To:                 Crowley, Shawn (USANYS)
Subject:            Emailing: Correction to 8-31-2015 Commzerbank
Date:               Monday, March 09, 2020 5:06:53 PM
Attachments:        Correction to 8-31-2015 Commzerbank.nrl




This email communication and any files transmitted with it contain privileged and confidential information from the
New York County District Attorney's Office and are intended solely for the use of the individuals or entity to whom
it has been addressed. If you are not the intended recipient, you are hereby notified that any dissemination or
copying of this email is strictly prohibited. If you have received this email in error, please delete it and notify the
sender by return email.
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 28 of 267




                 EXHIBIT 73
     Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 29 of 267


From:            Crowley, Shawn (USANYS)
To:              Graff, Ilan (USANYS)
Subject:         FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Date:            Monday, March 09, 2020 5:08:25 PM
Attachments:     127126528741.pdf
                 [280-1] Def resp re brady.pdf




From: Crowley, Shawn (USANYS)
Sent: Monday, March 09, 2020 3:24 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Thanks. Attaching the email chain in which we produce GX 411 (Saturday at 4:04 p.m.) as well as the
letter we filed with Judge Nathan in which we represent that we “made clear that GX 411 was a
newly marked exhibit and that we intended to offer it.”

From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Sent: Monday, March 09, 2020 3:17 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

I am trying to review this transcript but I think I am missing a document--- our letter to the defense
that the judge views as not fully candid.
Would you pls send?
Thanks.


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 2:22 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Birger, Laura (USANYS)
<LBirger@usa.doj.gov>
Cc: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Subject: Fwd: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

﻿This is the transcript from this morning before Judge Nathan. As Laura knows, the AUSAs are
 scrubbing their files and drafting their declarations.


Begin forwarded message:

      From: "DeLuca, Michael (USANYS) [Contractor]" <MDeLuca@usa.doj.gov>
      Date: March 9, 2020 at 2:05:16 PM EDT
      To: "Bove, Emil (USANYS)" <EBove@usa.doj.gov>, "Crowley, Shawn (USANYS)"
Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 30 of 267


     <SCrowley@usa.doj.gov>
     Subject: FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

 ﻿



 From: Goretti Moya <gmoya@sdreporters.com>
 Sent: Monday, March 9, 2020 2:05 PM
 To: DeLuca, Michael (USANYS) [Contractor] <MDeLuca@usa.doj.gov>
 Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)




 From: DeLuca, Michael (USANYS) [Contractor] <Michael.DeLuca@usdoj.gov>
 Sent: Monday, March 09, 2020 10:43 AM
 To: Info <Info@sdreporters.com>; reporters <reporters@sdreporters.com>
 Subject: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

     Good morning – We have a time-sensitive request for this morning’s transcript in the
     ongoing trial in front of Judge Nathan, US v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224
     (AJN). We are requesting a copy of this morning’s transcript (from before the jury
     entered the courtroom) as soon as possible, and will pay any fees associated with the
     expedited request.

     Could you please let me know when we would be able to get this? I’m sorry for the
     urgent request and I appreciate your help.

     Thank you,
     Michael

     Michael DeLuca
     Paralegal, Terrorism & International Narcotics Unit
     U.S. Attorney’s Office, SDNY
     Desk: (212) 637-2248
     Cell: (646) 265-8172
     Case   1:18-cr-00224-AJN
         Case  1:18-cr-00224-AJNDocument 401-4
                                  Document 277 Filed
                                                 Filed02/22/21
                                                       03/08/20 Page
                                                                 Page31  of 2267
                                                                       1 of
                                            U.S. Department of Justice
[Type text]
                                                     United States Attorney
Septe                                                Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     March 8, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

        Re:    United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

       The Court writes in response to the Court’s order from 9:00 this evening. The Government
apologizes for the lack of clarity in its prior email.

         The Government found GX 411 in its emails on Friday night, looked at the Bank-1
subpoena production, and did not find it. The members of the team discussed the document the
next morning and confirmed that it likely had not been produced to the defense previously. The
Government promptly had a paralegal mark it as an exhibit and produced it to the defense along
with other exhibits and 3500 materials. The Government made clear that GX 411 was a newly
marked exhibit and that we intended to offer it, and asked the defense if they would stipulate to
authenticity. Defense counsel responded shortly after the Government provided GX 411 and asked
how long the Government had GX 411, and why they had not previously received it. The
Government responded and explained that we had been aware of the letter since mid-January, and
that, at the time, the Government had mistakenly believed it was part of the discovery in the case.

        When SAUSA Lynch sent what is now GX 411 to the AUSAs in the case in January, the
AUSAs assumed that this was a document that came from this case (specifically, the subpoena to
Bank-1), and that it was therefore a document that had been previously produced to the defense as
part of the Rule 16 discovery. This was an incorrect assumption. The document in fact was
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 Case1:18-cr-00224-AJN
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         Exhibit B
                   Case
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                                                            Filed02/22/21
                                                                  03/08/20 Page
                                                                            Page33 of 18
                                                                                 2 of 267




From:                      Silverman, Nicholas
Sent:                      Sunday, March 8, 2020 1:36 PM
To:                        Kim, Jane (USANYS) 4; Heberlig, Brian; Lake, Stephanie (USANYS); Weingarten, Reid
Cc:                        Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]; Milione, Shawn (USANYS)
                           [Contractor]
Subject:                   RE: U.S. v. Sadr
Attachments:               092-1 2019-02-25 Pretrial Mem 6 - Exhibit A-c2.pdf



Counsel:

     (1) Are there any other documents in the government’s possession that have not been produced?
     (2) Is there any other Brady information in the government’s possession that has not been produced?
     (3) Is there any information in the government’s possession, custody, or control showing OFAC’s response
         to this letter? This is subject to production under Giglio and/or Napue because it would at a minimum
         undermine Ted Kim’s testimony (A) that to his knowledge, nothing relating to this matter was
         investigated by OFAC, (B) that “it matters a lot” if Iranian involvement in a transaction is concealed,
         and (C) that hiding “Iranian connections … would make it very difficult for me to do my job.”
     (4) As we have said, our requests for Brady and Giglio are continuing in nature. I have attached our
         September 2018 letter in case you want a non-exclusive list of examples of the type of information
         covered by Brady and Giglio in this case. Obviously, any information contrary to government witness
         testimony would be another example.
     (5) Regarding the authenticity of GX 411, we stipulate to authenticity.
     (6) GX 704 – Please let us know what modifications have been made.
     (7) GX 495A, 495B – What is the relevance of Sadr having bank accounts at HSBX from January 2010
         through October 2013?
     (8) GX 456 – We are reviewing and anticipate stipulating to authenticity.
     (9) GX 705A & 705B – We are reviewing.
     (10)         GX 2304A – Subject to our continuing objection (which we understand to have been overruled),
         no further objection.


Nicholas P. Silverman
Associate
nsilverman@steptoe.com


Steptoe
+1 202 429 8096 direct           Steptoe & Johnson LLP
+1 617 595 6559 mobile           1330 Connecticut Avenue, NW
+1 202 429 3902 fax              Washington, DC 20036
                                 www.steptoe.com


This message and any attached documents contain information from the law firm Steptoe & Johnson LLP that may be confidential and/or privileged. If
you are not the intended recipient, please do not read, copy, distribute, or use this information. If you have received this transmission in error, please
notify the sender immediately by reply e-mail and then delete this message.




From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Sunday, March 8, 2020 9:41 AM

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               Case
                Case1:18-cr-00224-AJN
                     1:18-cr-00224-AJN Document
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                                                 280-1 Filed
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                                                                        Page34 of 18
                                                                             3 of 267

To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian, Reid, and Nick:

As I explained in my last email, when we first saw the document in mid‐January, we thought it had been part of
Commerzbank’s subpoena return and had been produced. We didn't think it would be necessary to use given our other
evidence about that payment. Given some of the arguments you made on Friday, we decided that we did want to
introduce it at trial.

Again, we don’t see this document as exculpatory, as we would like to offer it tomorrow. Can you please let us know
your position on an authenticity stipulation for this document and the other bank records we sent yesterday, as well as
whether you have any issues with the summary charts?

Thanks,
Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 10:09 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid
<RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>;
Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

If you have been aware of the letter since mid‐January, why wasn’t it on the government’s
pretrial exhibit list instead of appearing the day before the government rests its case? The
exculpatory nature of the exhibit is self‐evident.

From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Saturday, March 7, 2020 5:36 PM
To: Heberlig, Brian <BHeberlig@steptoe.com>; Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Weingarten,
Reid <RWeingarten@steptoe.com>; Silverman, Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Lynch, Garrett (USANYS) [Contractor]
<Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor] <Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Brian,

We do not agree with your characterization of GX 430, 431, 432, or 411 as Brady. These are all exhibits the Government
has introduced or is seeking to introduce in our case. Perhaps you can explain how it is you think GX 411 is helpful to
your case.

In any event, we have been aware of the letter since mid‐January. We thought it was part of the Commerzbank
subpoena return that was produced in discovery. We now understand that it came from an unrelated DANY
investigation, and therefore was not in the Commerzbank subpoena return.

It is not clear to us how this document would have been relevant to the OFAC witness’s testimony.
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               Case
                Case1:18-cr-00224-AJN
                     1:18-cr-00224-AJN Document
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                                                              03/08/20 Page
                                                                        Page35 of 18
                                                                             4 of 267


Jane

From: Heberlig, Brian <BHeberlig@steptoe.com>
Sent: Saturday, March 7, 2020 4:57 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Weingarten, Reid <RWeingarten@steptoe.com>; Silverman,
Nicholas <nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: RE: U.S. v. Sadr

We request immediate disclosure of (1) where GX411 came from, (2) how long it has been in
the government’s possession, (3) why we are only receiving it today. This is the second
episode—along with GX430, GX431, and GX432—of the government producing fundamentally
exculpatory documents mid‐trial. In this instance, the document was produced after the
government’s OFAC witness, who would have been subject to cross‐examination on this
document. Provide this information by 6 pm or we will see the intervention of the Court.

From: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>
Sent: Saturday, March 7, 2020 4:24 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
Garrett (USANYS) [Contractor] <Garrett.Lynch@usdoj.gov>; Milione, Shawn (USANYS) [Contractor]
<Shawn.Milione@usdoj.gov>
Subject: RE: U.S. v. Sadr

Counsel,

We attempted to send you a number of attachments, which will not go through without encryption. It looks like
Steptoe’s servers are blocking the encrypted email. Shawn will upload the files to the link he has been using. The
descriptions are below.

Stephanie

From: Lake, Stephanie (USANYS)
Sent: Saturday, March 07, 2020 4:04 PM
To: Weingarten, Reid <RWeingarten@steptoe.com>; Heberlig, Brian <BHeberlig@steptoe.com>; Silverman, Nicholas
<nsilverman@steptoe.com>
Cc: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lynch, Garrett
(USANYS) [Contractor] <GLynch@usa.doj.gov>; Milione, Shawn (USANYS) [Contractor] <SMilione@usa.doj.gov>
Subject: U.S. v. Sadr

Counsel,

Mr. Dubowitz is still very ill. As a result, we do not intend to call him as a witness in our case‐in‐chief. It’s possible that,
depending on the defense case, we will call him as a rebuttal witness.

In addition, we’ve attached the following documents:

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              Case
               Case1:18-cr-00224-AJN
                    1:18-cr-00224-AJN Document
                                       Document401-4
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                                                             03/08/20 Page
                                                                       Page36 of 18
                                                                            5 of 267

   ‐   Updated GX 2284D – there were formatting problems with our version. We think the attached corrects them.
   ‐   3508‐08 – 3500 from today
   ‐   GX 411 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 456 – we intend to offer this on Monday. Let us know if you will stipulate to authenticity.
   ‐   GX 495A & B – we intend to offer these on Monday (likely in redacted form), although think a stipulation that
       the defendant had bank accounts at HSBC from January 2010 through October 2013 might be simpler. Let us
       know how you prefer to proceed.
   ‐   GX 704 – this is the modified version of the travel chart. Please confirm whether you have any remaining
       concerns.
   ‐   GX 705A & B – these are summary charts reflecting the information in GX 2090A. Please confirm whether you
       have any objections.
   ‐   Updated GX 2304A – we enlarged some of the cells, as the formatting of the PDFd excel file was cutting off some
       of the data. The content is the same.
   ‐   3504‐10 – Peri 3500, which was provided in hard copy yesterday morning.
   ‐   3505‐06 – Blair 3500, which was provided in hard copy yesterday morning.
   ‐   3513‐02 – Paralegal 3500 for summary chart (you may already have this)
   ‐   3513‐03 – Paralegal 3500 for summary chart (you may already have this)

We are still working on one additional summary chart, which we expect to provide later today.

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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        Case
        Case1:18-cr-00224-AJN
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                                                                     26of
                                                                       of 267
                                                                          18
Brian M. Heberlig
202 429 8134
bheberlig@steptoe.com

1330 Connecticut Avenue, NW
Washington, DC 20036-1795
202 429 3000 main
www.steptoe.com




                                       September 25, 2018




By Electronic Mail

Andrew DeFilippis
Matthew Laroche
Rebekah Donaleski
Assistant United States Attorneys
Garrett Lynch
Special Assistant United States Attorney
U.S. Attorney’s Office for the
Southern District of New York
1 St. Andrew’s Plaza
New York, NY 10007

        Re:      United States v. Ali Sadr Hashemi Nejad, No. 18 Cr. 224 (ALC)
                 Request for Discovery, Brady Material, and Particulars

Dear Counsel:

        On behalf of defendant Ali Sadr Hashemi Nejad, we request that the government provide
“open file” discovery in this case, including the prompt production of all of the documents and
other evidence it has obtained in its investigation and all grand jury transcripts, FBI 302s, and
interview memoranda.

        In the event that you elect not to provide “open file” discovery, Sadr respectfully submits
this formal request for discovery in this case, pursuant to the Fifth and Sixth Amendments to the
United States Constitution; Rules 12, 16, and 26.2 of the Federal Rules of Criminal Procedure;
Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and
progeny; the Department of Justice’s “Guidance for Prosecutors Regarding Criminal Discovery”;
and the additional authority set forth below.

       We understand that Sadr’s prior counsel at Arnold & Porter made earlier discovery
requests in this matter, including requests in letters and emails dated: March 21, March 25,
      Case
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            1:18-cr-00224-AJN  Document
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September 25, 2018
Page 2


March 29, April 3, May 15, July 5, July 10, July 26, August 2, August 23, and September 4,
2018. We adopt those requests and ask that you provide any future responsive material directly
to us. Arnold & Porter has provided us with copies of your prior discovery letters and emails
and the discovery productions to date, and we do not need you to reproduce them to us.
Although some of these discovery requests overlap with prior requests by Arnold & Porter, we
submit them to ensure that Sadr has fully protected his rights to discovery and Brady/Giglio
material in this matter.

        Sadr requests that you produce and/or permit him to inspect and copy or photograph the
materials specified below. This request encompasses not only documents1 and information in the
possession, custody, or control of, or that have been reviewed by, the U.S. Attorney’s Office for
the Southern District of New York and the Federal Bureau of Investigation, but also documents
and information in the possession, custody, and control of, or that have been reviewed by, the
Manhattan District Attorney’s Office, and any other federal, state or local agency allied with the
prosecution or involved in any way in investigating the activities alleged in the Indictment or
related conduct. As used in this letter, the words “government” and “you” include your office
and the above-referenced federal, state, or local agencies.

        Sadr requests that the government comply with all of its discovery obligations under
federal law, including, but not limited to, the following:2

I.     Search Warrant Returns

         We request clarification of the government’s position on the discoverability of the data
and documents collected pursuant to search warrants in the investigation. It is our understanding
that the government has produced the full and unfiltered email accounts of Sadr collected
pursuant to search warrants. Arnold & Porter requested the “terabyte” of unfiltered data and
documents from non-Sadr accounts obtained pursuant to search warrants, in an April 3, 2018
letter and an August 2, 2018 email. With respect to that data, it is our understanding that the
government has produced only a subset of materials that it has deemed “pertinent.” We reiterate
Sadr’s request for complete, unfiltered data and documents from all accounts obtained by the


       1
         The word “documents” includes, but is not limited to, all books, papers, letters,
correspondence, reports, memoranda, studies, calendars, appointment books, diaries, notes,
messages, e-mail, text messages, instant messages, other computer facilitated or transmitted
materials, images, photographs, polaroids, information in any computer database, audio and
video tapes, recordings, transcripts, ledgers, printouts, contracts, checks, receipts, and all copies
or portions thereof, and any other written, recorded, or memorialized material of any nature
whatsoever.
       2
        All of these requests are continuing in nature, requiring supplementation in accordance
with Fed. R. Crim. P. 16(c).
      Case
       Case
       Case1:18-cr-00224-AJN
             1:18-cr-00224-ALCDocument
            1:18-cr-00224-AJN  Document
                               Document401-4
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                                        280-1  Filed02/22/21
                                               Filed 03/08/20 Page
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government pursuant to search warrants. If you decline to provide these materials, please
indicate:

       1.      The search terms and/or other filtering process used by the government to identify
the “pertinent” documents from the search warrant returns for the non-Sadr accounts; and

       2.     How the government has satisfied its Brady obligations with respect to the
purportedly non-pertinent data and documents from the search warrant returns for the non-Sadr
accounts.

II.    Statements of the Defendant

        1.      Any written or recorded statements made by Sadr within the possession, custody,
or control of the government, the existence of which is known, or by the exercise of due
diligence may become known, to the government. See Fed. R. Crim. P. 16(a)(1)(B)(i). This
request includes, without limitation:

              a.      All notes, reports, and memoranda summarizing any statement by Sadr to
                      law enforcement officials at the time of his arrest;

              b.      All transcripts and recordings of conversations in which Sadr was a
                      participant;

              c.      All wire and oral communications made by Sadr that were transmitted to
                      or intercepted by, for or on behalf of any government agent or employee
                      or any agency or entity of the U.S. government;

              d.      All written and recorded statements of witnesses that reflect, relate, or
                      incorporate any statements made by Sadr; and

              e.      All other documents that purport to reflect, relate, or incorporate any
                      statements made by Sadr.

       2.      The portion of any written record containing the substance of any oral statement
made by Sadr, whether before or after arrest, in response to interrogation by any person then
known to the defendant to be a government agent. See Fed. R. Crim. P. 16(a)(1)(B)(ii). This
request includes without limitation, all documents, including notes, prepared by any FBI
employee or agent that contain the substance of any relevant statement made by Sadr.

         3.     The substance of any other oral statement made by Sadr, whether before or after
arrest, in response to interrogation by any person then known by Sadr to be a government agent.
See Fed. R. Crim. P. 16(a)(1)(A).
       Case
        Case
        Case1:18-cr-00224-AJN
              1:18-cr-00224-ALCDocument
             1:18-cr-00224-AJN  Document
                                Document401-4
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III.    Documents and Tangible Objects

         1.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that were obtained from or belong to Sadr, or that belonged to Sadr
at the time of the alleged offenses, or that belong or belonged to any agent of Sadr or any entity
allegedly owned or controlled by Sadr. See Fed. R. Crim. P. 16(a)(1)(E)(iii). This request
includes all documents as to which the government or any entity assigned Sadr as a custodian,
whether hard copy or electronic records.

        2.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that the government intends to use at trial in its case-in-chief. See
Fed. R. Crim. P. 16(a)(1)(E)(ii). We request that any materials in this category be specifically
identified from among the materials produced pursuant to the defendant’s other Rule 16 and
Brady requests, both to enable counsel to prepare effectively for trial and to afford Sadr an
opportunity to move to suppress any evidence the prosecution intends to use in its case-in-chief.
See Fed. R. Crim. P. 12(b)(3)(C) and 12(b)(4)(B).

        3.     All books, papers, documents, photographs, tangible objects, buildings or places,
or copies or portions thereof, that are material to the preparation of Sadr’s defense, see Fed. R.
Crim. P. 16(a)(l)(E)(i), including, but not limited to, those items set forth in paragraphs III.4 to
III.14 below.

        4.     All documents reflecting the alleged specific “international financial transactions”
at issue in Count Two of the indictment. Indictment ¶ 19.

       5.     All documents reflecting the alleged “financial transactions” at issue in Counts
Three and Four of the indictment. Indictment ¶¶ 23, 26.

        6.     All documents reflecting the alleged false and fraudulent pretenses,
representations and promises at issue in Counts Three and Four of the indictment. Indictment
¶¶ 23, 26.

       7.     All documents reflecting the alleged monetary transactions and transfers at issue
in Counts Five and Six of the indictment. Indictment ¶¶ 29, 32.

        8.      All documents relating to Sadr or the conduct alleged in the indictment that were
introduced as exhibits before the grand jury. We request that any materials in this category be
specifically identified from among the materials produced pursuant to the defendant’s other Rule
16 and Brady requests.

       9.      All documents relating to Sadr or the conduct alleged in the indictment that were
obtained by or for the grand jury or pursuant to any grand jury or trial subpoena. This request
includes any documents furnished informally to prosecutors in lieu of formal compliance with a
subpoena.
      Case
      Case
       Case1:18-cr-00224-AJN
             1:18-cr-00224-ALCDocument
            1:18-cr-00224-AJN Document
                               Document401-4
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       10.     All documents relating to Sadr or the conduct alleged in the indictment obtained
from any witness who testified before the grand jury, or who was interviewed or consulted
during the course of the grand jury investigation.

       11.    All documents relating to Sadr or the conduct alleged in the indictment that were
obtained by any search or seizure pursuant to a search warrant or otherwise.

       12.    All documents relating to Sadr or the conduct alleged in the indictment obtained
from any federal, state or local governmental, regulatory or legislative body or agency.

        13.     All documents relating to press releases or press conferences concerning Sadr or
the investigation of the defendant, and all other documents relating to any contacts between the
government and representatives of the media concerning Sadr or the investigation of the
defendant.

       14.   All documents relating to the reputation of Sadr, including, without limitation,
any documents relating to Sadr’s reputation for honesty, integrity, or competence.

IV.    Brady and Giglio Material

       Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, including Giglio v.
United States, 405 U.S. 150 (1972), United States v. Agurs, 427 U.S. 97 (1976), United States v.
Bagley, 473 U.S. 667 (1985), Kyles v. Whitney, 514 U.S. 419 (1995), and New York Rule of
Professional Conduct 3.8, Sadr requests immediate identification and disclosure of all documents
and information (in whatever form) that are favorable to the defense or that would tend to
exculpate Sadr or mitigate his culpability with respect to the charges in the indictment, that
would tend to impeach any potential witness against Sadr, or that are relevant to the issue of
sentencing, including but not limited to the following:

        1.      Any document or information indicating or tending to establish that any of the
allegations in the indictment are not true.

        2.      Any document or information indicating or tending to establish that any meeting,
conversation, use of words, practice, or conduct that is the subject of the indictment or forms the
basis of the indictment did not violate government laws, regulations, standards or established
business practices.

        3.     Any document or information indicating or tending to establish that Sadr believed
that any meeting, conversation, use of words, practice, or conduct that is the subject of the
indictment or forms the basis of the indictment did not constitute a crime.

        4.      Any document or information indicating or tending to establish that any other
person (including but not limited to the alleged co-conspirators) believed that any meeting,
conversation, use of words, practice, or conduct that is the subject of the indictment or forms the
basis of the indictment did not constitute a crime.
      Case
      Case
       Case1:18-cr-00224-AJN
             1:18-cr-00224-ALCDocument
            1:18-cr-00224-AJN Document
                               Document401-4
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        5.      Any documents or information indicating or tending to establish that Sadr did not
instigate, control, authorize, approve, or acquiesce in the practices that are the subject of the
indictment.

        6.      Any documents or information indicating or tending to establish that the alleged
false or fraudulent pretenses were not false.

        7.      Any documents or information indicating or tending to establish that the alleged
false or fraudulent pretenses were not material.

       8.     Any documents or information indicating or tending to establish that a third
person was responsible for the financial transactions at issue in any count of the indictment.

        9.     Any document or information indicating or tending to establish that Sadr engaged
in any conduct that forms the basis of the indictment in reliance upon advice provided by counsel
or accountants.

       10.     Any document or information (in whatever form) that could be used to impeach
any potential government witness, or any person whose statements will be introduced pursuant to
Fed. R. Evid. 801(d)(2)(C), (D), or (E), including but not limited to:

               a.      Any document or information relating to any conviction, arrest, or
                       criminal record of, and any criminal charge brought against, any potential
                       government witness;

               b.      Any document or information relating to promises, consideration, or
                       inducements made to any potential government witness, whether directly
                       to the witness or indirectly to the witness’ attorney, friends, family,
                       employer, business associates, or other culpable or at risk third-party.
                       “Consideration” means anything of value or use, including immunity
                       grants, whether formal or informal, witness fees, transportation or
                       relocation assistance, money, dropped or reduced charges or suggestions
                       of favorable treatment with respect to any federal, state or local criminal,
                       civil, or administrative matter, expectations of downward departures or
                       motions for reduction of sentence, considerations regarding forfeiture of
                       assets, or stays of deportation or other immigration status considerations;

               c.      Any document or information tending to show the bias of a potential
                       government witness, including animosity toward Sadr, animosity toward
                       any group or entity of which Sadr is a member or with which Sadr is
                       affiliated, a relationship with the alleged victim, or known but uncharged
                       criminal conduct that may provide an incentive to curry favor with a
                       prosecutor;

               d.      Any document or information affecting the reliability of a potential
                       government witness’s testimony, including known alcohol or substance
      Case
      Case
       Case1:18-cr-00224-AJN
             1:18-cr-00224-ALCDocument
            1:18-cr-00224-AJN Document
                               Document401-4
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                      abuse, mental health issues or other issues that could affect the witness’s
                      ability to perceive and recall events;

               e.     Any document or information relating to any inconsistency in statements
                      given by any potential government witness;

               f.     Any document or information relating to any inconsistency between
                      agents’ and/or prosecutors’ rough notes and FBI 302s or other memoranda
                      of interviews of any potential government witness;

               g.     Any document or information bearing adversely on the character or
                      reputation for truthfulness of any potential government witness; and

               h.     Each specific instance of conduct from which it could be inferred that any
                      potential government witness is untruthful.

        11.     The date of and participants in each and every interview (including not only
interviews conducted by the U.S. Attorney’s Office or the Manhattan District Attorney’s Office,
but also interviews conducted by third parties), debriefing, “queen for a day” session, proffer,
deposition, or other statement or description of the alleged facts made by each potential
government witness (whether directly or indirectly, such as a proffer made by counsel). In
addition, please specify, as to each such witness, the first date on which the witness made any
allegation that Sadr engaged in any allegedly unlawful conduct or any conduct alleged in the
indictment.

         As you are aware, New York has adopted Rule of Professional Conduct 3.8, entitled
“Special Responsibilities of Prosecutors and Other Government Lawyers,” which provides that a
prosecutor “shall make timely disclosure to [the defense] of evidence or information known to
the prosecutor or other government lawyer that tends to negate the guilt of the accused, mitigate
the degree of the offense, or reduce the sentence . . . .” Rule 3.8(b). The Supreme Court has
recognized that Rule 3.8 imposes a higher standard on prosecutors than the standards mandating
disclosure of exculpatory evidence under Brady. See Kyles, 514 U.S. at 437 (“[Brady] requires
less of the prosecution than the ABA Standards for Criminal Justice, which call generally for
prosecutorial disclosures of any evidence tending to exculpate or mitigate.”); ABA Standards for
Criminal Justice, Prosecution Function and Defense Function 3-3.11(a) (3d ed. 1993) (“A
prosecutor should not intentionally fail to make timely disclosure to the defense, at the earliest
feasible opportunity, of the existence of all evidence or information which tends to negate the
guilt of the accused or mitigate the offense charged or which would tend to reduce the
punishment of the accused”); ABA Model Rule of Professional Conduct 3.8(d) (1984) (“The
prosecutor in a criminal case shall . . . make timely disclosure to the defense of all evidence or
information known to the prosecutor that tends to negate the guilt of the accused or mitigates the
offense”).

       We contend that the foregoing categories of information constitute Brady and Rule 3.8(b)
material, and that disclosure should take place immediately. Sadr further requests that the
      Case
      Case
       Case1:18-cr-00224-AJN
             1:18-cr-00224-ALCDocument
            1:18-cr-00224-AJN Document
                               Document401-4
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government identify with particularity and provide copies of all materials that qualify as Brady
and Rule 3.8 material, as described above. Please advise us promptly whether the government
will be producing Brady material immediately even if it is contained in what might otherwise be
considered as Jencks material, or whether you take the position that you are not obligated to
produce such material at this time.

       We also request the underlying source material for any Brady and Rule 3.8(d)
information, as opposed to any summary letter or paraphrased description of the information.
Please advise us promptly whether the government will not be producing underlying source
material.

       For purposes of the Brady doctrine, “the format of the information does not determine
whether it is discoverable.” U.S. Attorneys’ Manual § 9-5.002.B.5 (2018). For example,
material exculpatory information that is provided “during a conversation with an agent or a
witness is no less discoverable than if that same information were contained in an email.” Id.
We therefore request that all such information be memorialized and produced to Sadr.

V.     Purportedly Privileged Material

        Sadr specifically requests that the government produce all documents or information (in
whatever form) produced to the government—or over which the government otherwise has
custody, control, or possession—that are responsive to Sadr’s discovery and Brady/Giglio
requests contained herein or that the government would otherwise be legally required to produce,
over which any individual or entity has asserted the attorney-client privilege and/or the attorney
work product doctrine. This request applies to all such documents produced pursuant to (a) a
non-waiver agreement between any individual or entity and the government, (b) a court order
pursuant to Fed. R. Evid. 502, or (c) a court order concluding that the documents are covered by
the crime-fraud exception to the attorney-client privilege.

        Sadr also requests that you identify any person or entity that has asserted any attorney-
client privilege, work product privilege, common interest privilege, or any other privilege as the
basis for withholding or not producing, in whole or in part, any documents to the government or
the grand jury during the investigation. Sadr further requests that you provide all documents
(including all privilege logs) with respect to the assertion of or challenge to any such claimed
privileges. This request specifically encompasses all pleadings, court orders, correspondence,
and other material related to any grand jury litigation by the government in which it challenged
any assertion of any privilege.

VI.    Criminal Records

       Pursuant to Rule 16(a)(1)(D) of the Federal Rules of Criminal Procedure, Sadr requests
copies of his prior criminal record, if any.
       Case
        Case1:18-cr-00224-AJN
       Case  1:18-cr-00224-ALC Document
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VII.    Jencks Material

         Pursuant to the Jencks Act, 18 U.S.C. § 3500, and Rule 26.2 of the Federal Rules of
Criminal Procedure, Sadr requests that the government provide a list of the names and addresses
of all witnesses that the government intends to call in its case-in-chief and all statements of those
witnesses in the possession, custody, or control of the government or any other government
entity, including, but not limited to, notes of interviews, FBI 302s, or other summaries prepared
by government attorneys or agents, and grand jury transcripts and any other witness statements.
We request that the government begin providing this material as soon as possible, or in any event
no later than ninety (90) days prior to the start of trial.

VIII. Scientific Evidence

        Pursuant to Rule 16(a)(1)(F) of the Federal Rules of Criminal Procedure, Sadr requests
documentation relating to all requests for, and the results of, physical or mental examinations,
scientific tests, or experiments that were conducted in connection with the investigation of the
charges contained in the indictment. This includes, but is not limited to:

               a.      all forensic examinations of any computer hard drive, handheld cellular
                       telephone or mobile device that Sadr possessed or to which Sadr had
                       access;

               b.      all handwriting exemplars, handwriting samples, handwriting or document
                       analyses, and all documents examined or used in or related to such
                       analyses;

               c.      all fingerprint and palm print exemplars, fingerprint samples,
                       comparisons, and opinions of fingerprint experts, and all documents
                       examined or used in connection with, or that relate to, those opinions; and

               d.      all polygraph examinations, psychological stress examinations, hypnotic
                       procedures, or any other scientific procedures devised to determine
                       whether a subject is telling the truth, or to refresh a witness’ memory, and
                       all documents that refer or relate to such examinations.

IX.     Other Crimes Evidence

        Pursuant to the Fifth and Sixth Amendments to the United States Constitution and Rules
403 and 404(b)(2) of the Federal Rules of Evidence, Sadr requests that the government disclose
all evidence of similar crimes, wrongs, or acts, allegedly committed by Sadr (or any person
alleged to have been acting pursuant to his instructions), upon which the government intends to
rely on at trial.
      Case
       Case1:18-cr-00224-AJN
      Case  1:18-cr-00224-ALC Document
            1:18-cr-00224-AJN  Document401-4
                              Document   92-1 Filed
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X.     Suppression Issues

      1.      As a predicate to potential motions pursuant to Rule 12(b) of the Federal Rules Of
Criminal Procedure, see Rule 12(b)(4)(B), Sadr requests that he be informed:

              a.      Whether the government intends to offer into evidence any statement
                      made by Sadr or any family member, and the substance of any such
                      statement;

              b.      Whether any evidence in the government’s possession, custody, or control
                      was obtained by a search and seizure conducted by the government, and a
                      description of such evidence;

              c.      Whether any evidence in the government’s possession, custody, or control
                      was obtained through electronic or mechanical surveillance, including
                      without limitation, wiretaps, body wires, pen registers, and/or surveillance
                      of telephone calls, and a description of such evidence;

              d.      Whether any evidence in the government’s possession, custody, or control
                      was obtained through the use of a beeper or other tracking device, and a
                      description of such evidence;

              e.      In connection with any tape recording, wiretaps, or other surveillance of
                      the defendant during the investigation of the allegations of the indictment
                      or any related allegations, Sadr seeks:

                       i.    The names and addresses of all such persons whose personal or
                             business telephones the government tapped or monitored, or whose
                             conversations or actions the government monitored by other means
                             without the person’s knowledge;

                      ii.    Transcripts or other records of the statements or conversations
                             monitored;

                     iii.    The original recorded tapes created during such surveillance;

                     iv.     The procedures used to conduct such surveillance; and

                      v.     The authority under which such surveillance was conducted.

              f.      Whether any evidence in the government's possession, custody, or control
                      was obtained through a mail cover and/or trash cover and a description of
                      such evidence; and

              g.      The identities of any informant or undercover agent employed by the
                      government during its investigation of the charges of the indictment.
       Case
        Case1:18-cr-00224-AJN
       Case  1:18-cr-00224-ALC Document
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        2.       Sadr requests that the prosecution disclose whether it intends to offer in its case-
in-chief, as a statement by the defendant, any of the following, and that it provide the substance
of any such statement:

               a.      Any statement as to which the defendant allegedly manifested his adoption
                       or belief in its truth. See Fed. R. Evid. 801(d)(2)(B).

               b.      Any statement made by another which was purportedly authorized by the
                       defendant. See Fed. R. Evid. 801(d)(2)(C).

               c.      Any statement made by an agent or servant of the defendant concerning a
                       matter within the scope of his agency or employment made during the
                       existence of such a relationship. See Fed. R. Evid. 801(d)(2)(D).

               d.      Any statement made by an alleged co-conspirator of the defendant during
                       the course and in furtherance of any alleged conspiracy. See Fed. R.
                       Evid. 801(d)(2)(E).

XI.     Hearsay

       Sadr requests notice of any hearsay statement that the government plans to offer at trial
under Federal Rule of Evidence 807, including its particulars, the declarant’s name and address,
and other information giving Sadr a fair opportunity to meet the statement. Fed. R. Evid. 807(b).

XII.    Charts and Summaries

        Pursuant to Fed. R. Evid. 1006, Sadr requests that he be advised whether the government
will seek to offer any chart, summary, or calculation in evidence and, if so, (1) that all such
charts, summaries, and calculations be produced, and (2) that all writings, recordings, or other
information on which such charts, summaries, or calculations are based be made available for
inspection and copying.

XIII. Electronically Stored Information

       Sadr requests that the government comply with the “Recommendations for Electronically
Stored Information (ESI) Discovery Production in Federal Criminal Cases” issued by the
Department of Justice and Administrative Office of the U.S. Courts Joint Working Group on
Electronic Technology in the Criminal Justice System in February 2012. To that end, Sadr
requests the ability to “meet and confer” with the government as needed to discuss the nature,
volume, and mechanics of the government’s production of ESI discovery. Among other things,
Sadr makes the following requests:

        1.     The government should produce ESI received from third parties in the format it
               was received. However, if the government has further processed ESI received
               from third parties, such as by adding load files, converting native files to TIFF
               images, extracting metadata or other coding, or making electronic files
      Case
       Case1:18-cr-00224-AJN
      Case  1:18-cr-00224-ALC Document
            1:18-cr-00224-AJN  Document401-4
                              Document   92-1 Filed
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              searchable, the government should produce such enhanced ESI in discovery to
              save Sadr the expense of replicating this work. Sadr does not seek any
              government attorney work product by this request.

       2.     The government should produce a table of contents describing the general
              categories of information available as ESI discovery in order to expedite Sadr’s
              review of discovery and avoid discovery disputes, unnecessary expense, and
              undue delay. Further, the government should produce the cover letters that
              accompanied and described the third party productions of ESI and other
              documents to facilitate Sadr’s review.

       3.     For all ESI produced from a seized, searched, or subpoenaed third-party digital
              device (e.g., computer, hard drive, thumb drive, CD, DVD, cell phone,
              Blackberry, iPhone, Android, smart phone, smart watch, or personal digital
              assistant), the government should identify the digital device that held the ESI,
              identify the device’s owner or custodian, and identify the location where the
              device was seized, searched, or from where it was produced.

       4.     The government should produce any materials received in paper form in
              converted digital files that can be viewed and searched. These materials should
              be produced in multi-page TIFF and OCR format where each document is one file
              that may have multiple pages. Alternatively, a less preferable option would be
              production in multi-page, searchable PDF format. Under no circumstances should
              paper materials be converted into single-page TIFF images without document
              breaks.

       5.     All production of ESI should maintain parent-child relationships between
              documents, such as where an email (the parent document) has attachments (the
              child documents).

XIV. Bill of Particulars

       We also adopt Arnold & Porter’s August 23, 2018 letter requesting a bill of particulars
regarding the allegations in the indictment. We need specification of those allegations in the
indictment to permit Sadr to prepare to defend the charges against him. Please advise us whether
the government will provide the requested information so that we can determine whether it will
be necessary to move for a bill of particulars under Federal Rule of Criminal Procedure 7(f).
      Case
       Case1:18-cr-00224-AJN
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       Please let us know promptly whether there are any requests set forth in this letter with
which you decline to comply. We are available to discuss any of the foregoing requests at your
convenience. We reserve the right to supplement these requests as we continue to review the
discovery material and prepare for trial. Thank you for your consideration.

                                            Sincerely,



                                            Brian M. Heberlig
     Case 1:18-cr-00224-AJN
       Case  1:18-cr-00224-AJNDocument 401-4
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March 8, 2020
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obtained in an unrelated DANY investigation and was not provided to this Office before January
2020.

                                                    Respectfully submitted,
                                                    GEOFFREY S. BERMAN
                                                    United States Attorney

                                              By:          /s/
                                                    Jane Kim / Michael Krouse / Stephanie Lake
                                                       Assistant United States Attorneys
                                                    Garrett Lynch
                                                       Special Assistant United States Attorney
                                                    (212) 637-2038 / 2279 / 1066

cc: Defense Counsel (by ECF)
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From:           Crowley, Shawn (USANYS)
To:             Graff, Ilan (USANYS)
Subject:        FW: Sadr
Date:           Monday, March 09, 2020 5:08:50 PM
Attachments:    127126528741.pdf
                ATT00001.htm
                18cr224 Order 3.08.20.pdf
                ATT00002.htm
                [280-1] Def resp re brady.pdf
                ATT00003.htm




From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Sent: Monday, March 09, 2020 5:44 AM
To: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Cc: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Subject: Sadr

Hi Laura,

Attached are additional filings from last night. We held off on distributing these more broadly
because we weren’t sure how much would come in, and didn’t want to send 3-4 update emails.
The defense ended up not saying much other than to file the attached correspondence with the
team. Our plan is to send an internal update once we hear from AJN at 9 this morning, but we
wanted you to have seen these documents before you call the court.

In these attachments, you’ll see that AJN asked follow-up questions about our initial letter. We
found the answers to the questions to be unfortunate, particularly the fact that the team did not
flag for defense counsel that the document was being produced for the first time. We’re going
to talk to the unit about the disclosure issues here and in Schulte once the dust settles with the
trials.

Thanks again for making this call.

Emil
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                 EXHIBIT 75
     Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 54 of 267


From:             Crowley, Shawn (USANYS)
To:               Graff, Ilan (USANYS)
Subject:          FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)
Date:             Monday, March 09, 2020 5:08:31 PM
Attachments:      18cr224 Order 3.08.20.pdf
                  18cr224 Order 3.9.20.pdf




From: Crowley, Shawn (USANYS)
Sent: Monday, March 09, 2020 3:49 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Here is the order referred to in the letter (3.08.20), and the subsequent order asking us to be
prepared to explain how we made clear that GX 411 had been newly marked (3.9.20).

From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Sent: Monday, March 09, 2020 3:47 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Pls also send the court’s order referred to in letter you just sent.
Thanks


From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 3:24 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

Thanks. Attaching the email chain in which we produce GX 411 (Saturday at 4:04 p.m.) as well as the
letter we filed with Judge Nathan in which we represent that we “made clear that GX 411 was a
newly marked exhibit and that we intended to offer it.”


From: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>
Sent: Monday, March 09, 2020 3:17 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>
Cc: Birger, Laura (USANYS) <LBirger@usa.doj.gov>
Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

I am trying to review this transcript but I think I am missing a document--- our letter to the defense
that the judge views as not fully candid.
Would you pls send?
Thanks.
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From: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Sent: Monday, March 9, 2020 2:22 PM
To: Strauss, Audrey (USANYS) <AStrauss@usa.doj.gov>; Birger, Laura (USANYS)
<LBirger@usa.doj.gov>
Cc: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Subject: Fwd: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

﻿This is the transcript from this morning before Judge Nathan. As Laura knows, the AUSAs are
 scrubbing their files and drafting their declarations.



Begin forwarded message:

          From: "DeLuca, Michael (USANYS) [Contractor]" <MDeLuca@usa.doj.gov>
          Date: March 9, 2020 at 2:05:16 PM EDT
          To: "Bove, Emil (USANYS)" <EBove@usa.doj.gov>, "Crowley, Shawn (USANYS)"
          <SCrowley@usa.doj.gov>
          Subject: FW: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

      ﻿



      From: Goretti Moya <gmoya@sdreporters.com>
      Sent: Monday, March 9, 2020 2:05 PM
      To: DeLuca, Michael (USANYS) [Contractor] <MDeLuca@usa.doj.gov>
      Subject: RE: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)




          From: DeLuca, Michael (USANYS) [Contractor] <Michael.DeLuca@usdoj.gov>
          Sent: Monday, March 09, 2020 10:43 AM
          To: Info <Info@sdreporters.com>; reporters <reporters@sdreporters.com>
          Subject: Transcript - Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

          Good morning – We have a time-sensitive request for this morning’s transcript in the
          ongoing trial in front of Judge Nathan, US v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224
          (AJN). We are requesting a copy of this morning’s transcript (from before the jury
          entered the courtroom) as soon as possible, and will pay any fees associated with the
          expedited request.

          Could you please let me know when we would be able to get this? I’m sorry for the
          urgent request and I appreciate your help.

          Thank you,
          Michael
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 Michael DeLuca
 Paralegal, Terrorism & International Narcotics Unit
 U.S. Attorney’s Office, SDNY
 Desk: (212) 637-2248
 Cell: (646) 265-8172
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 United States of America,

                –v–
                                                                    18-cr-224 (AJN)
 Ali Sadr Hashemi Nejad,
                                                                        ORDER
                        Defendant.




ALISON J. NATHAN, District Judge:

       The parties shall be ready to begin today, March 9, 2020, at 8:30 a.m. The Government

shall be prepared to discuss, among other matters, its representation to the Court (in response to

the Court’s March 8, 2020 Order) that it “made clear” in its March 7 correspondence with Mr.

Sadr’s counsel “that GX 411 was a newly marked exhibit.” See Dkt. No. 277.

       SO ORDERED.


Dated: March ___9___, 2020
       New York, New York


                                                ____________________________________
                                                          ALISON J. NATHAN
                                                        United States District Judge
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From:                Lynch, Garrett
To:                  Crowley, Shawn (USANYS)
Cc:                  Bove, Emil (USANYS)
Subject:             RE: Draft-Declaration-Template.docx
Date:                Monday, March 09, 2020 6:03:58 PM


Let me know when you’re available for a quick call. Thanks.


From: Crowley, Shawn (USANYS) [mailto:Shawn.Crowley@usdoj.gov]
Sent: Monday, March 9, 2020 4:55 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: Re: Draft-Declaration-Template.docx

Can you call me again? 212-637-1034



           On Mar 9, 2020, at 3:43 PM, Lynch, Garrett <LynchG@dany.nyc.gov> wrote:

       ﻿
       Shawn, we’ve spoken to four out of the five other people who ever touched this case.
       They’re all over the place (including Ireland), and only one still works here (but is out of
       the office). Can I represent in my declaration that we spoke with them?

       From: Crowley, Shawn (USANYS) [mailto:Shawn.Crowley@usdoj.gov]
       Sent: Monday, March 9, 2020 3:38 PM
       To: Laroche, Matthew (USANYS) <Matthew.Laroche@usdoj.gov>; Denton, David
       (USANYS) <David.Denton@usdoj.gov>; Lake, Stephanie (USANYS)
       <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS)
       <Michael.Krouse@usdoj.gov>; Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Lynch,
       Garrett <LynchG@dany.nyc.gov>; DeFilippis, Andrew (USANYS)
       <Andrew.DeFilippis@usdoj.gov>
       Subject: Draft-Declaration-Template.docx




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From:            Krouse, Michael (USANYS)
To:              Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:         FW: Sadr - wire transfers
Date:            Monday, March 09, 2020 6:24:16 PM
Attachments:     Commerz OFAC disclosure.pdf


Here is the January 10 email Garrett sent us. No one responded.


From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Friday, January 10, 2020 4:52 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: RE: Sadr - wire transfers

In the spirit of closing the loop on the $29M payment through Commerz, attached is the voluntary
disclosure Commerze made to OFAC re: the payment.


From: Lake, Stephanie (USANYS) [mailto:Stephanie.Lake@usdoj.gov]
Sent: Friday, January 10, 2020 3:16 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Cc: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Krouse, Michael (USANYS)
<Michael.Krouse@usdoj.gov>
Subject: RE: Sadr - wire transfers

Closing the loop on this– I found a document in the material Fuenmayor gave us that discusses the
$29 million transfer through Fondo Chino, and he also mentioned it in the last meeting. I think this
should be helpful in tying the wire information we have showing the Fondo Chino transfer to PDVSA.
The doc is attached, if anyone cares, but it’s also en Espanol (I’ve requested translation). Pages 14-
15.


From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Wednesday, January 08, 2020 12:46 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: RE: Sadr - wire transfers

The Venezuelans used various state-owned “funds” and banks to fund various government projects,
among them BANDES, the economic and social development bank (which, I believe made some early
payments (not ours) related to the project), and Fondo Chino (the Chinese-Venezuelan Fund).
Fondo Chino (at least ostensibly) was funded by oil sales to and loans from China (I think PDVSA and
the government liberally moved money around). I forget exactly why Fondo Chino was used to make
the first payment (or if we ever knew for sure) – my guess is that PDVSA, which controlled all oil-
related funds (i.e., the Venezuelan purse), had adequate funds in the Fondo Chino account to make
the payment from that account. I believe the money came from a Banco del Tesoro account in
Venezuela, which had a correspondent relationship with Commerz in Germany. Thereafter, they
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used PDVSA accounts at Banco Espirito Santo in Portugal.


From: Lake, Stephanie (USANYS) [mailto:Stephanie.Lake@usdoj.gov]
Sent: Wednesday, January 8, 2020 11:02 AM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Cc: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Krouse, Michael (USANYS)
<Michael.Krouse@usdoj.gov>
Subject: RE: Sadr - wire transfers

Found the first one. Thanks. Do you know why it came from “Fondo Chino” / what that is?

That’s fine on two. Just wanted to make sure I wasn’t missing some other records that would show
that information.   

Definitely agree on the third point.

Thank you!


From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Wednesday, January 08, 2020 10:04 AM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: RE: Sadr - wire transfers


1. Re: the first payment, there should be a copy of the SWIFT message in the Commerzbank
production. In my version of the subpoena compliance production it's a PDF titled "Copy".

2. Re: the identity of the intermediary bank, the bank whose business record the wire transfer
is is the intermediary bank, so the witness will be able to state that.

3. Also, for several of the payments, we have additional search warrant documents -- e.g.,
while we may just have the wire transfer record from the clearing bank, we may also have a
SWIFT message attached to an email, or a Hyposwiss record, or some other document which
identifies the payment route. When the dust settles on the SW docs, we can reconstruct my old
payments binders where I had all of the documents bundled together for each payment (the
payment instruction letter, the bank record(s), emails, attachments, etc.). This is what we did
for the GJ.



From: Lake, Stephanie (USANYS) [mailto:Stephanie.Lake@usdoj.gov]
Sent: Tuesday, January 7, 2020 6:19 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: FW: Sadr - wire transfers
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My original email had three attachments, which had to be sent to you securely. So you should be
getting a secure message with instructions on how to access it.


From: Lake, Stephanie (USANYS)
Sent: Tuesday, January 07, 2020 5:37 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>;
Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: Sadr - wire transfers

See attached a spreadsheet (Payments) showing each transfer and where I found documentation. A
few things:

    1)      I didn’t find a wire confirmation for the 4/4/2011 $29 million transfer. I did find reference to
           it in the CHIPS subpoena returns. It seems to show that it went from “Fondo Chino-
           Venezolano” to Stratus International Contracting (see attached two spreadsheets that show
           this). Garrett – do you know if we have a wire confirmation for that transfer?

    2)      I noticed that the wire confirmations don’t generally show the U.S. intermediary bank on
           them. Is there other documentation I’m missing that has this information?

*All documents are saved here: \\Usa.doj.gov\cloud\NYS\StAndrews\Shared\Iran_VEHousing-
2017R01160\###Trial\Documents\Payment Records and here:
\\Usa.doj.gov\cloud\NYS\StAndrews\Shared\Iran_VEHousing-2017R01160\Evidence
[INT]\Discovery\#5 - Subpoena Returns\To Produce.

Also – Garrett, I was thinking that if you don’t already have the ability to remotely login to our
network, we should have that set up! That way the file paths above wouldn’t be useless to you.

Thanks!

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637-1066




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From:            Krouse, Michael (USANYS)
To:              Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:         FW:
Date:            Monday, March 09, 2020 6:32:40 PM
Attachments:     00206BBA05AF200309182049.pdf
                 Draft declaration (Lynch).docx




From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Monday, March 9, 2020 6:23 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject:

Draft declaration and related docs attached.

Garrett A. Lynch
Deputy Bureau Chief
Major Economic Crimes Bureau
New York County District Attorney’s Office
(212) 335-4335
lynchg@dany.nyc.gov




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                   -v.-                                          DECLARATION

 ALI SADR HASHEMI NEJAD,                                         18 CR 224 (ALC)



        Defendant.


               I, GARRETT A. LYNCH, pursuant to Title 28, United States Code, Section 1746,

declare under penalty of perjury:

               1.         I am an attorney admitted to the bar of the State of New York, and an

Assistant District Attorney in the New York County District Attorney’s Office (“DANY”), as well

as a Special Assistant United States Attorney for the Southern District of New York responsible

for this matter.

               2.         In January 2012, at DANY, I was assigned to work on an investigation into

Commerzbank, A.G., a German bank under investigation by DANY, the United States Department

of Justice (“DOJ”), and multiple regulatory agencies since January 2011 related to violations of

U.S. sanctions laws and regulations during the period 2002 through 2007.

               3.         During the course of that investigation, DANY received voluminous record

from Commerzbank, include records related to voluntary disclosures made by the Commerzbank

branch in New York the United States Department of Treasury’s Office of Foreign Assets Control

(“OFAC”) during the course of the investigation (but unrelated to the historical conduct under

investigation). In total, DANY received approximately 215 pages related to approximately 15




                                                  1
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such disclosures, with dates ranging between March 2010 and October 2014. I reviewed these

disclosures during the course of the Commerzbank investigation.

               4.      The Government exhibit in this case marked GX 411, dated June 16, 2011,

was included in the approximately 215 pages of disclosures produced by Commerzbank in that

investigation. I reviewed these productions at or about the time that I received them.

               5.      The DANY and DOJ investigation into Commerzbank was resolved in

March 2015 when Commerzbank entered into deferred prosecution agreements with DANY and

DOJ.

               6.      I was first assigned to work on the DANY investigation related to the

defendant, Ali Sadr Hashemi Nejad, in May 2015.

               7.      On or about August 31, 2015, DANY issued a subpoena to Commerzbank’s

New York branch seeking records related to a specific U.S. dollar transaction, as well as any wire

transfer records related several entities involved in this case (e.g., Fondo Chino, PDVSA, Stratus

International Contracting, J.S., Stratus Global Investments, and Clarity Trade and Finace). DANY

received records in response to that subpoena in October 2015. Ex. A.

               8.      On or about May 19, 2016, I had a conversation with a supervisory

enforcement officer at OFAC with whom I had dealt on past cases involving U.S. sanctions laws

and regulations. During the course of that call, I outlined the general facts of the case to get this

individual’s informal thoughts about whether the conduct under investigation potentially violated

U.S. sanctions laws and regulations. He confirmed that the scenario I outlined would constitute a

violation. Ex. B.

               9.      On or about August 1, 2016, when DANY was preparing to present the case

to a grand jury in New York County, I emailed the same OFAC supervisor to (a) line up an OFAC



                                                 2
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witness for possible grand jury testimony, and (2) to offer the information to OFAC for their own

enforcement purposes. The OFAC supervisor responded by offering to put DANY in touch with

an enforcement officer, and he copied his management team. Ex. C.

               10.      On or about August 5, 2016, I had a telephone call with an OFAC

enforcement officer in which I briefed her on the general facts of the case. Ex. D.

               11.      On September 22, 2017, after my appointment as a Special Assistant United

States Attorney in June 2017, I had another call with the OFAC supervisor while preparing to

present the case to a federal grand jury, in which I outlined the facts of the case again for purposes

of getting OFAC’s thoughts on the proposed federal charges. Following the call, I sent him a

PowerPoint presentation outlining the case. Ex. E.

               12.      On September 26, 2017, I received an email from the OFAC supervisor on

which he copied two enforcement officers with whom the prosecution team could follow up with

any questions. Ex. F.

               13.      Later, on March 28, 2019, after an unrelated phone call with the OFAC

supervisor in which the status of the instant criminal case was raised, he email me two documents

related to a public enforcement action OFAC had taken with a fact pattern he believed to be similar

to this case based upon our discussions. Ex. G.

               14.      I have no further records reflecting communications about this case with

OFAC.

               15.      During the course of above-described emails and phone calls, I provided

OFAC with information about the investigation in an effort to get OFAC’s views about the general

facts to further our own criminal case. I never inquired or learned whether OFAC took any

independent steps to investigate any of the entities, individuals, or banks involved in this case as a



                                                  3
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result of the information we had shared with OFAC, or whether OFAC had conducted any

investigations (or, conversely, had declined to do so) related to information it had independently

obtained in the past related to any of the relevant individuals and entities. Further, during the

course of the above-described phone calls and conversations, I never discussed the document (or

information) contained in GX 411 with anyone at OFAC, nor did I learn what action, if any, OFAC

took (or didn’t take) in response to receiving that document.

               16.    Later, in preparation for trial, in an effort to uncover any document possibly

relevant to the case, I searched a file in my office containing records received from Commerzbank

during the course of the separate investigation into Commerzbank which had concluded in March

2015 and identified the document later marked as GX 411, which I emailed to other members of

the prosecution team at the U.S. Attorney’s Office on January 20, 2020.

               17.    In response to the Court’s Order of March 9, 2020, I and other supervisory

members of my bureau contacted all five Assistant District Attorneys who worked on the case

during the course of DANY’s investigation, four of whom no longer work at the office. Two of

the five stated that they never had any contact with OFAC during their time on the investigation,

and three of the five stated that they have no recollection of speaking to anyone from OFAC,

beyond possible scheduling matters when DANY was preparing to present the case to a New York

State grand jury in 2016.

               I declare under penalty of perjury that, to the best of my knowledge, the foregoing
information is true and correct.

Dated:         New York, New York
               March 9, 2020

                                                     _________________________________
                                                     Garrett A. Lynch
                                                     Special Assistant United States Attorney



                                                4
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                  EXHIBIT 79
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From:            Kim, Jane (USANYS) 4
To:              Bove, Emil (USANYS); Krouse, Michael (USANYS); Crowley, Shawn (USANYS)
Subject:         RE:
Date:            Monday, March 09, 2020 6:47:58 PM


We just emailed and called. Will keep you posted.
From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Sent: Monday, March 9, 2020 6:47 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Crowley, Shawn (USANYS)
<SCrowley@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: RE:
Makes sense to give Matt a call. Thanks guys.
From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Sent: Monday, March 9, 2020 6:45 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Bove, Emil (USANYS) <EBove@usa.doj.gov>;
Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: RE:
Garrett says he can’t find the sent email. So doesn’t know exactly which powerpoint was sent.
Laroche is on the email, though, so maybe he has it.
From: Krouse, Michael (USANYS)
Sent: Monday, March 9, 2020 6:43 PM
To: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>; Emil J. .Bove (Emil.Bove@usdoj.gov)
<Emil.Bove@usdoj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Subject: FW:
Email on page 15 references the powerpoint. We don’t have the powerpoint included. Asking
Garrett now.
From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Monday, March 9, 2020 6:23 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject:
Draft declaration and related docs attached.
Garrett A. Lynch
Deputy Bureau Chief
Major Economic Crimes Bureau
New York County District Attorney’s Office
(212) 335-4335
lynchg@dany.nyc.gov




This email communication and any files transmitted with it contain privileged and confidential
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recipient, you are hereby notified that any dissemination or copying of this email is strictly
prohibited. If you have received this email in error, please delete it and notify the sender by
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return email.
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                  EXHIBIT 80
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From:            Kim, Jane (USANYS) 4
To:              Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Cc:              Krouse, Michael (USANYS)
Subject:         FW: Case
Date:            Monday, March 09, 2020 7:01:22 PM
Attachments:     2017.01.20 SDNY VZ Housing PowerPoint.PPTX




From: Laroche, Matthew (USANYS) <MLaroche@usa.doj.gov>
Sent: Monday, March 9, 2020 7:00 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: FW: Case




From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Friday, September 22, 2017 3:12 PM
To: 'Michael.Dondarski@treasury.gov' <Michael.Dondarski@treasury.gov>
Cc: Laroche, Matthew (USANYS) <MLaroche@usa.doj.gov>
Subject: Case

Michael,

Thanks for the call yesterday. As always, great to chat with you. Attached is the powerpoint I
mentioned which gives a rough sketch of the case, the players, and the evidence. Obviously, it’s the
tip of the iceberg – we’re happy to share more information, records, etc.

Have a great weekend. Who know…maybe you’ll be a father the next time we speak!

Garrett A. Lynch
Deputy Bureau Chief
Major Economic Crimes Bureau
New York County District Attorney’s Office
(212) 335-4335
lynchg@dany.nyc.gov




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return email.
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Venezuela Housing Case



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I. Introduction
II. USD Payments
III. Potential Charges
IV. Company Structure
V. Individuals
VI. Proof of Payment
VII. Knowledge of Sanctions/Efforts to Hide Iranian Connection


                                                                                        2
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                        Theory of the Case


• Iranian construction company builds houses in Venezuela pursuant to
  a bilateral agreement between the governments of Iran and
  Venezuela and receives more than $100 million in payments through
  front companies and accounts in violation of US sanctions, causing
  the filing of false business records with New York banks which omit
  the true nature and beneficiary of the payments.




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                             II. USD Payments
• Evidence of 15 USD payments clearing through NY County between
  April 2011 and November 2013
• Total amount cleared: $115,508,527.28
• Payments sent from PDVSA/VE government-controlled accounts to
  accounts at Hyposwiss and Falcon Bank in Switzerland on behalf of
  IIHCO
   • 7 payments to Stratus International Contracting J.S. (AKA Straturk) account
   • 8 payments to Clarity Trade & Finance S.A. account



                                                                                          4
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                                     EVIDENCE
• Emails (mostly from the Iranian side of the “Project”)

• Payment records (SWIFT messages and wires)

• Bank account records (limited)

• 2 possible fact witnesses (significant availability issues with both)

• Expert testimony (from banks, FED, and OFAC)

                                                                                         5
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                             IV. Company Structure
         PDVSA
(Venezuela state-owned oil                                                                                            Stratus, Iran
       company)
                                                                                                             Established in 1978 by
Payments made to Clarity                                                                                       Mohammad Sadr
 and Stratus, Turkey via                                                                                 Leading Iranian Contracting Co.
   PDVSA account(s)




                                    Contract between DUCOLSA and
                                                                             IIHCO, Iran
                                      IIHCO, Iran signed 7/2/2007
                                                                       Incorporated 12/27/2006


        DUCOLSA

Venezuelan Housing Fund
                                                                                                                                                   Stratus Intl Contracting aka
                                    Contract between DUCOLSA and          IIHCO, Venezuela
                                                                                                        Subcontract Agreement between                    Straturk, Turkey
                                   IIHCO, Venezuela signed 7/2/2007          Incorporated             IIHCO, Venezuela and Stratus, Turkey             (Ali Sadr, chairman)
                                                                                2/2007                             2/2/2012
                                                                                                                                                    Incorporated 9/22/2010
                                                                      Branch Office of IIHC, Iran


                                                                                                       Finance Management Contract between
                                                                                                      IIHCO, Venezuela, Stratus Turkey, Clarity,
                                                                                                                and Stratus Global
                                                                                                                     2/1/2011

                                                                         Clarity Trade & Finance
                                                                        Incorporated 3/19/2010                                                     Stratus Global Investments
                                                                               Serves as the                                                         Incorporated 2/3/2009
                                                                       “Administrator” for IIHCO,                                                   Serves as the “investment
                                                                         Venezuela and Stratus,                                                    agent” for IIHCO, Venezuela
                                                                           Turkey by being the                                                         and Stratus, Turkey.
                                                                      designated recipient of funds



                                                                                                                                                                              6
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  Stratus International Contracting (“Stratus”)
• Established in 1978 in Tehran, Iran by Mohammad SADR
• Part of Samaneh Stratus/Stratus Holding
   • Iranian conglomerate that includes a bank (EN Bank) sanctioned in 2012 (removed in
     2016) and an oil company (Oriental Oil Kish) sanctioned in 2007
• Builds infrastructure projects in and outside of Iran
• Projects outside of Iran:
   •   Pakistan (highway)
   •   Yemen (airport)
   •   Djibouti (parliamentary building – ongoing in 2011)
   •   Venezuela (housing)
• Five member board of directors, including M. SADR, and Farshid KAZERANI

                                                                                              7
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• Stratus establishes a new subsidiary (IIHC) and a “Venezuela Project
  Executive Committee” in 2009 to manage and oversee the execution
  of the project in Venezuela.
• Committee members over time include:
   •   Mohammad SADR (Chairman)
   •   Ali SADR
   •   Behrooz ZANGENEH
   •   Ahmad SAFAVARDI
   •   Bahram KARIMI
   •   Mustafa CETINEL
   •   Ekrem CINAR

                                                                                         8
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                                                                       9
                                               V. Individuals
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                                  Venezuela Committee (Iran)
                                 Chairman: Mohammad SADR
                  Members: Bahram KARIMI, Farshid KAZERANI, Ali SADR; Behrooz
                  ZANGENEH; Mustafa CETINEL; Ekrem CINAR; Ahmad SAFAVARDIi

                                               Hussein TEHRANI (Iran)
                                                Chairman/CEO/President of IIHC




                                               Farshid KAZERANI (Iran)
                                                General Manager of IIHCO
                              Member of the Board & project manager of Stratus Intl Contracting




                                                                           Behrooz ZANGENEH
                          Mustafa CETINEL                                        (Iran)
                           (Istanbul/VE)                                  Vice managing director of Stratus
                            Project Director                                    Intl Contracting, Iran
                                                                          Managing/General Director of IIHC


                                                                                                     Ahmad SAFAVARDI
                                                    Bahram KARIMI                                        (US/VE)
Ekrem CINAR (Turkey)                                                                               VP & Deputy Manager of IIHCO VE
   Vice Project Manager                                (Iran/VE)                                  Signs as Stratus Group Envoy to Latin
                                                        Project Manager                                          America
                                                                                                  signs as Contractor’s representative
                                                                                                       Stationed in California, US


                                                  Numerous Iranian IIHCO
                                                     employees in VE


                                          *Parentheticals indicate where people were
                                                                                                                                     10
                                           physically located at relevant time period
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                             VI. Proof of Payment
• In an email dated December 30, 2010, Ali SADR sends B. KARIMI the USD account information “as
  requested:”




                                                                                                  11
                       Date         USD Amount      Sending Party Document
                                        Case 1:18-cr-00224-AJN        Intr BK-1        Intr02/22/21
                                                                             401-4 Filed    BK-2      Intr126
                                                                                                    Page   BK-3of 267    Rec BK            Beneficiary
Instruction Letter                                  Petroleos De                                                   Hyposwiss
                                                    Venezuela SA         JPMorgan Chase                            Privatbank AG
and payment for                                     (PDVSA)              New York, NY                              Zurich, Switzerland Clarity Trade &
IPC 11-13:           7/5/2011   $     20,692,579.48 Caracas, Venezuela   SWIFT: CHASUS33                           SWIFT: SHHBCHZZ Finance S.A.




                     ZANGENEH
                     signature
                                                                                                                                                         12
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                  Wire Sheet




                                                                       13
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Bank Statement Attachment from April 11,
     2012 Email L. Estiroti to A. SADR




                                                                               14
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July 6, 2011 Email A. SADR to M. CETINEL




                                                                               15
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  VII. Knowledge of Sanctions/Efforts to Hide
              Iranian Connection
• Evidence establishes that M. Sadr and A. Sadr were both aware
  of US sanctions and had a nuanced understanding of their
  reach and effect.
  • Both have numerous emails which reference the existence of US sanctions
  • Several emails attach articles about US sanctions
  • An email includes the text of the “Comprehensive Iranian Sanctions Accountability and
    Divestment Act of 2010”
  • A. SADR is sent an email entitled “The Impact of US Sanctions Against Iran on You”
  • M. SADR’s comment is sought by a student doing research on US sanctions and Iranian
    businesses
  • Emails indicate that various payments, including salary to employees were blocked by
    American financial institutions due to sanctions (see, e.g. email of 3 July 2014 informing A.
    Sadr that a payment of 6,000USD to FARSHID KAZERANI “has been rejected by the
    intermediary bank.”)
  • M. SADR and Stratus Holding control one bank and one oil service company that were
    specifically designated as SDNs by OFAC

                                                                                                    16
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     July 16, 2010 Email A. SADR to HBM Funds
• In an email to a fund manager who is assisting in an FX exchange from USD to Bolivars, in response to a
  “Know Your Customer” Inquiry about Clarity, A. SADR writes:




                                                                                                            17
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    March 26, 2011 Email A. SADR to B. KARIMI
• An email exchange between A. SADR and B. KARIMI:




                                                                                               18
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        January 7, 2013 Email from A. SADR to P.
                        Rosiak
• Email to a representative from the business publication “The Businessyear.com”, A. SADR wrote:




                                                                                                   19
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    July 3, 2014 Email from L. Estiroti to A. Sadr
• Email of July 3, 2014 from Ali’s assistant L. Estiroti to Ali alerting him that a payment to Kazerani was
  rejected:




                                                                                                              20
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October 24, 2011 Email from A. SADR to M.
                 Cetinel




                                                                                21
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        March 7, 2011 Email from A. SADR to B.
                    ZANGENEH
• Email from A. SADR to B. ZANGANEH:




                                                                                               22
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From:            Kim, Jane (USANYS) 4
To:              Krouse, Michael (USANYS); Lynch, Garrett (USANYS) [Contractor]
Cc:              Bove, Emil (USANYS); Crowley, Shawn (USANYS)
Subject:         Email - if anyone has revisions
Date:            Monday, March 09, 2020 7:19:24 PM
Attachments:     2020.03.09 Government Production.pdf


Counsel:

Attached are all of the email communications with OFAC about this case that SAUSA Lynch found
today. The PowerPoint attached at the end of this PDF was attached to SAUSA Lynch’s email on
Page 15 of the PDF. Please see, in particular, Pages 7 and 15. We will describe these materials in
our letter to the Court this evening, but we are producing all of it to you now.

Also, we agree to the stipulation you presented to the Court this afternoon. If you’d like to discuss
any of the attached or revisions to the stipulation, we are available any time.

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637-2038
Email: jane.kim@usdoj.gov
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Venezuela Housing Case



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I. Introduction
II. USD Payments
III. Potential Charges
IV. Company Structure
V. Individuals
VI. Proof of Payment
VII. Knowledge of Sanctions/Efforts to Hide Iranian Connection


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                         Theory of the Case


• Iranian construction company builds houses in Venezuela pursuant to
  a bilateral agreement between the governments of Iran and
  Venezuela and receives more than $100 million in payments through
  front companies and accounts in violation of US sanctions, causing
  the filing of false business records with New York banks which omit
  the true nature and beneficiary of the payments.




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                             II. USD Payments
• Evidence of 15 USD payments clearing through NY County between
  April 2011 and November 2013
• Total amount cleared: $115,508,527.28
• Payments sent from PDVSA/VE government‐controlled accounts to
  accounts at Hyposwiss and Falcon Bank in Switzerland on behalf of
  IIHCO
   • 7 payments to Stratus International Contracting J.S. (AKA Straturk) account
   • 8 payments to Clarity Trade & Finance S.A. account



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                                    EVIDENCE
• Emails (mostly from the Iranian side of the “Project”)

• Payment records (SWIFT messages and wires)

• Bank account records (limited)

• 2 possible fact witnesses (significant availability issues with both)

• Expert testimony (from banks, FED, and OFAC)

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      IV. Company Structure




                                                                       6
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  Stratus International Contracting (“Stratus”)
• Established in 1978 in Tehran, Iran by Mohammad SADR
• Part of Samaneh Stratus/Stratus Holding
   • Iranian conglomerate that includes a bank (EN Bank) sanctioned in 2012 (removed in
     2016) and an oil company (Oriental Oil Kish) sanctioned in 2007
• Builds infrastructure projects in and outside of Iran
• Projects outside of Iran:
   •   Pakistan (highway)
   •   Yemen (airport)
   •   Djibouti (parliamentary building – ongoing in 2011)
   •   Venezuela (housing)
• Five member board of directors, including M. SADR, and Farshid KAZERANI

                                                                                          7
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• Stratus establishes a new subsidiary (IIHC) and a “Venezuela Project
  Executive Committee” in 2009 to manage and oversee the execution
  of the project in Venezuela.
• Committee members over time include:
   •   Mohammad SADR (Chairman)
   •   Ali SADR
   •   Behrooz ZANGENEH
   •   Ahmad SAFAVARDI
   •   Bahram KARIMI
   •   Mustafa CETINEL
   •   Ekrem CINAR

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                                               V. Individuals
                                  Venezuela Committee (Iran)
                                 Chairman: Mohammad SADR
                  Members: Bahram KARIMI, Farshid KAZERANI, Ali SADR; Behrooz
                  ZANGENEH; Mustafa CETINEL; Ekrem CINAR; Ahmad SAFAVARDIi

                                               Hussein TEHRANI (Iran)
                                                Chairman/CEO/President of IIHC




                                               Farshid KAZERANI (Iran)
                                                General Manager of IIHCO
                              Member of the Board & project manager of Stratus Intl Contracting




                                                                           Behrooz ZANGENEH
                          Mustafa CETINEL                                        (Iran)
                           (Istanbul/VE)                                  Vice managing director of Stratus
                            Project Director                                    Intl Contracting, Iran
                                                                          Managing/General Director of IIHC


                                                                                                     Ahmad SAFAVARDI
                                                    Bahram KARIMI                                        (US/VE)
Ekrem CINAR (Turkey)                                                                               VP & Deputy Manager of IIHCO VE
   Vice Project Manager                                (Iran/VE)                                  Signs as Stratus Group Envoy to Latin
                                                        Project Manager                                          America
                                                                                                  signs as Contractor’s representative
                                                                                                       Stationed in California, US


                                                  Numerous Iranian IIHCO
                                                     employees in VE


                                          *Parentheticals indicate where people were
                                                                                                                                     10
                                           physically located at relevant time period
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                             VI. Proof of Payment
• In an email dated December 30, 2010, Ali SADR sends B. KARIMI the USD account information “as
  requested:”




                                                                                                  11
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                       Date         USD Amount         Sending Party          Intr BK‐1    Intr BK‐2   Intr BK‐3         Rec BK            Beneficiary
Instruction Letter                                  Petroleos De                                                   Hyposwiss
                                                    Venezuela SA         JPMorgan Chase                            Privatbank AG
and payment for                                     (PDVSA)              New York, NY                              Zurich, Switzerland Clarity Trade &
IPC 11‐13:           7/5/2011   $     20,692,579.48 Caracas, Venezuela   SWIFT: CHASUS33                           SWIFT: SHHBCHZZ Finance S.A.




                     ZANGENEH
                     signature
                                                                                                                                                         12
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                     Wire Sheet




                                                                       13
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Bank Statement Attachment from April 11,
     2012 Email L. Estiroti to A. SADR




                                                                             14
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July 6, 2011 Email A. SADR to M. CETINEL




                                                                            15
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  VII. Knowledge of Sanctions/Efforts to Hide
              Iranian Connection
• Evidence establishes that M. Sadr and A. Sadr were both aware
  of US sanctions and had a nuanced understanding of their
  reach and effect.
  • Both have numerous emails which reference the existence of US sanctions
  • Several emails attach articles about US sanctions
  • An email includes the text of the “Comprehensive Iranian Sanctions Accountability and
    Divestment Act of 2010”
  • A. SADR is sent an email entitled “The Impact of US Sanctions Against Iran on You”
  • M. SADR’s comment is sought by a student doing research on US sanctions and Iranian
    businesses
  • Emails indicate that various payments, including salary to employees were blocked by
    American financial institutions due to sanctions (see, e.g. email of 3 July 2014 informing A.
    Sadr that a payment of 6,000USD to FARSHID KAZERANI “has been rejected by the
    intermediary bank.”)
  • M. SADR and Stratus Holding control one bank and one oil service company that were
    specifically designated as SDNs by OFAC

                                                                                                    16
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     July 16, 2010 Email A. SADR to HBM Funds
• In an email to a fund manager who is assisting in an FX exchange from USD to Bolivars, in response to a
  “Know Your Customer” Inquiry about Clarity, A. SADR writes:




                                                                                                            17
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    March 26, 2011 Email A. SADR to B. KARIMI
• An email exchange between A. SADR and B. KARIMI:




                                                                                         18
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        January 7, 2013 Email from A. SADR to P.
                        Rosiak
• Email to a representative from the business publication “The Businessyear.com”, A. SADR wrote:




                                                                                                   19
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    July 3, 2014 Email from L. Estiroti to A. Sadr
• Email of July 3, 2014 from Ali’s assistant L. Estiroti to Ali alerting him that a payment to Kazerani was
  rejected:




                                                                                                              20
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October 24, 2011 Email from A. SADR to M.
                 Cetinel




                                                                             21
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        March 7, 2011 Email from A. SADR to B.
                    ZANGENEH
• Email from A. SADR to B. ZANGANEH:




                                                                                         22
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                  EXHIBIT 82
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From:            Krouse, Michael (USANYS)
To:              Bove, Emil (USANYS); Kim, Jane (USANYS) 4; Lake, Stephanie (USANYS); Crowley, Shawn (USANYS)
Subject:         Here is a draft letter
Date:            Monday, March 09, 2020 8:40:05 PM
Attachments:     2020.03.09 Letter re OFAC contacts.docx




Michael Krouse
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, NY 10007
(212) 637-2279
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                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
Septe                                                Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     March 9, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

        Re:    United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

        The Government writes to provide further facts regarding the prosecution team’s contacts
with the United States Department of Treasury’s Office of Foreign Assets Control (“OFAC”), and
the circumstances surrounding the late production of what has now been marked as Government
Exhibit (“GX”) 411.

        At the outset, the Government wants to make clear that, if the defense wishes to offer GX
411, the Government consents to the proposed curative instruction. The Government is also
willing to enter into the stipulation proposed by Reid Weingarten, or a modified version of the
stipulation in light of the disclosures contained in this letter.

       All former and current members of the Government’s prosecution team have now
completed a diligent review of all files (including, but not limited to, emails, hard copy
correspondence, hard copy files, and notes) for any materials reflecting communications or
correspondence with OFAC. The members of the prosecution team includes AUSAs Andrew
DeFilippis, David Denton, Rebekah Donaleski, Jane Kim, Michael Krouse, Stephanie Lake,
Matthew Laroche, as well as Special Assistant United States (“SAUSA”) Attorney Garrett Lynch.

         Based on the diligent review, no AUSA on the prosecution team had any communications
or correspondence with OFAC, except in connection with (1) the preparation of Mr. Ted Kim to
testify at trial, and (2) the OFAC license check (which has been admitted as Government Exhibit
602). However, as explained in detail below, SAUSA Lynch did have substantive discussions
with OFAC. Copies of emails between SAUSA Lynch and officials at OFAC were produced to
the defense tonight at 7:25 p.m., and are attached to this letter as Exhibit A (“Ex. A”). Set forth
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below is a chronological account of SAUSA Lynch’s communications with OFAC during this
case.

       First, SAUSA Garrett Lynch is employed full-time with the District Attorney’s Office of
New York (“DANY”) as an Assistant District Attorney (“ADA”). In January 2012, while at
DANY, ADA Lynch was assigned to work on an investigation into Commerzbank, A.G., a German
bank that had been under investigation since January 2011 by DANY, the United States
Department of Justice (“DOJ”), and multiple regulatory agencies. That investigation concerned
alleged violations of U.S. sanctions laws and regulations during the period 2002 through 2007.

       During the course of that investigation, DANY received, from Commerzbank, 15 voluntary
disclosures that the Commerzbank branch in New York City had made to OFAC between March
2010 and October 2014. In total, DANY received approximately 215 pages related to those
disclosures. GX 411 was one such disclosure. In March 2015, Commerzbank entered deferred
prosecution agreements with DANY and DOJ.

       In May 2015, ADA Lynch was assigned to work on the DANY investigation related to the
defendant, Ali Sadr Hashemi Nejad. On or about August 31, 2015, DANY issued a subpoena to
Commerzbank’s New York branch, which made the following request:




Ex. A at 4. In October 2015, DANY received records in response to the subpoena. Those subpoena
returns were produced to the defense in this case during Rule 16 discovery.

       On May 19, 2016, ADA Lynch had a conversation with a supervisory enforcement officer
at OFAC (“OFAC Officer-1”) with whom he had dealt on past cases involving U.S. sanctions laws
and regulations. Ex. A at 6. During that call, ADA Lynch outlined the general facts of the case
and solicited OFAC Officer-1’s informal thoughts about whether the conduct under investigation
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potentially violated U.S. sanctions laws and regulations. OFAC Officer-1 confirmed that the facts
outlined by ADA Lynch would constitute a violation.

        On August 1, 2016, when DANY was preparing to present the case to a grand jury in New
York County, ADA Lynch sent OFAC Officer-1 an email. Ex. A. at 7. In the email, ADA Lynch
asked OFAC Officer-1 about arranging an OFAC witness for possible grand jury testimony. ADA
Lynch also offered “to provide you with information so you can take action on your own if so
desired.” Id. On August 2, 2016, OFAC Officer-1 responded and introduced his management
team, including a Section Chief (the “Section Chief”). Ex. A at 8.

       On or about August 5, 2016, ADA Lynch had a telephone call with the Section Chief, along
with two other OFAC enforcement officers. Ex. A at 10. During this call, ADA Lynch briefed
OFAC on the general facts of the investigation into Mr. Sadr’s alleged conduct.

       In June 2017, ADA Lynch was appointed as a SAUSA.

        Between July 12, 2017 and September 20, 2017, SAUSA Lynch and OFAC Officer-1
exchanged a series of emails. See Ex. A at 12-14. During those emails, SAUSA Lynch informed
OFAC Officer-1 that he had been designated a SAUSA, and raised the possibility of arranging a
phone call in July to discuss the ongoing investigation. The phone call, however, did not happen
until September 21, 2017. See Ex. A at 12 (“This call with SDNY that I tried to set up back in
July never happened.”).

       On September 21, 2017, SAUSA Lynch had a call with OFAC Officer-1. Ex. A at 11.
During that call, SAUSA Lynch outlined the facts of the case in order to get OFAC Officer-1’s
thoughts on the proposed federal charges. That same day, following the call, SAUSA Lynch sent
OFAC Officer-1 a PowerPoint presentation outlining some of the evidence in the case. Id.; see
Ex. A at 26-47 (the “PowerPoint”). OFAC Officer-1 responded: “[T]hanks for passing along the
information below/attached. We’ll take a look and will get back to you.” Id.

        On September 26, 2017, OFAC Officer-1 responded again to the email attaching the
PowerPoint, this time copying the Section Chief, another OFAC enforcement officer, and AUSA
Laroche. Ex. A at 15. OFAC Officer-1 thanks SAUSA Lynch for “passing along the slide deck.”
OFAC Officer-1 stated that the two other OFAC officials copied would “coordinate with you on
next steps or follow-up with any questions they have.” Id. No one from OFAC followed-up with
SAUSA Lynch on next steps or questions.

        On March 28, 2019, after an unrelated phone call with OFAC Officer-1 during which this
case was mentioned, OFAC Officer-1 sent SAUSA Lynch an email. Ex. A at 16. Attached to the
email were two documents related to a public enforcement action OFAC had taken with a fact
pattern that OFAC Officer-1 believed to be similar to this case. Id. at 17-25.

       SAUSA Lynch has no further records reflecting communications about this case with
OFAC, or any recollection of other such communications. SAUSA Lynch never inquired or
learned whether OFAC took independent steps to investigate any of the entities, individuals, or
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banks involved in this case. Further, during the course of the above-described phone calls and
conversations, SAUSA Lynch never discussed the contents of GX 411 with anyone at OFAC. Nor
did SAUSA Lynch learn what, if any, actions OFAC took in response to receiving that document.

         On January 10, 2020, while preparing for trial, AUSA Stephanie Lake sent an email to
SAUSA Lynch, copying AUSAs Jane Kim and Michael Krouse. See Ex. B. AUSA Lake’s email
mentioned the April 4, 2011 wire transfer from Fondo Cino to Stratus International Contracting
J.S. for $29 million. AUSA Lake stated a document previously provided by a witness “should be
helpful in tying the wire information we have showing the Fondo Chino transfer to PDVSA.”
AUSA Lake’s email caused SAUSA Lynch to recall the Commerzbank document he previously
saw while working at DANY. That same day, SAUSA Lynch reviewed a file in his DANY office
containing records received from Commerzbank during the course of the separate investigation
into Commerzbank, which had concluded in March 2015. During that review, he found the
document later marked as GX 411. That same day, SAUSA Lynch sent an email to AUSA Lake,
copying AUSAs Kim and Krouse, which attached GX 411, and said: “In the spirit of closing the
loop on the $29M payment through Commerz, attached is the voluntary disclosure Commerze (sic)
made to OFAC re: the payment.” None of the three AUSAs responded to SAUSA Lynch’s email.

        AUSA Lake recalls speaking to SAUSA Lynch on the phone briefly about GX 411 soon
after SAUSA Lynch sent his January 10, 2020 email. Neither AUSA Lake nor SAUSA Lynch
recall the substance of the call, other than that it was brief. At the time of the January 10, 2020
email, AUSAs Lake, Kim, Krouse, and SAUSA Lynch did not realize GX 411 had not been
produced in Rule 16 discovery, and failed to check whether it had been. AUSAs Lake, Kim,
Krouse, and SAUSA Lynch do not recall any other conversations about GX 411 between January
10, 2020 and March 6, 2020. GX 411 was not produced to the defense or marked as a Government
Exhibit before trial.

       On March 6, 2020, AUSA Lake found the January 10, 2020 email from SAUSA Lynch
while organizing her emails. After reviewing GX 411, AUSA Lake looked at the Commerzbank
subpoena production, and discovered that GX 411 was not included. The next morning, AUSA
Lake consulted with the other members of the prosecution team, and concluded that GX 411 had
not been produced to the defense. At that time, AUSAs Lake, Kim, Krouse, and SAUSA Lynch
viewed GX 411 as an inculpatory document, and did not consider it to be Brady. The prosecution
team decided to seek to admit GX 411 in its case in chief. AUSA Lake sent the document, along
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March 9, 2020
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with others, to the defense. The Government did not specifically identify that GX 411 had not
previously been produced in discovery.



                                                    Respectfully submitted,
                                                    GEOFFREY S. BERMAN
                                                    United States Attorney

                                              By:          /s/
                                                    Jane Kim / Michael Krouse / Stephanie Lake
                                                       Assistant United States Attorneys
                                                    Garrett Lynch
                                                       Special Assistant United States Attorney
                                                    (212) 637-2038 / 2279 / 1066

cc: Defense Counsel (by ECF)
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                  EXHIBIT 83
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From:            Kim, Jane (USANYS) 4
To:              Bove, Emil (USANYS); Krouse, Michael (USANYS); Lake, Stephanie (USANYS); Crowley, Shawn (USANYS)
Subject:         RE: Here is a draft letter
Date:            Monday, March 09, 2020 9:06:48 PM


Not yet.


From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Sent: Monday, March 9, 2020 9:06 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4
<JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley, Shawn (USANYS)
<SCrowley@usa.doj.gov>
Subject: RE: Here is a draft letter

Do we have the transcript from today yet?


From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Sent: Monday, March 9, 2020 8:40 PM
To: Bove, Emil (USANYS) <EBove@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lake,
Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Subject: Here is a draft letter




Michael Krouse
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, NY 10007
(212) 637-2279
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                  EXHIBIT 84
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From:            Kim, Jane (USANYS) 4
To:              Bove, Emil (USANYS); Krouse, Michael (USANYS); Lake, Stephanie (USANYS); Crowley, Shawn (USANYS)
Subject:         RE: Here is a draft letter
Date:            Monday, March 09, 2020 10:10:07 PM
Attachments:     Ex. A.pdf
                 Ex. B Email from GL.pdf


Attached.


From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Sent: Monday, March 9, 2020 9:58 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4
<JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley, Shawn (USANYS)
<SCrowley@usa.doj.gov>
Subject: RE: Here is a draft letter

Can you send me exs a and b please


From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Sent: Monday, March 9, 2020 8:40 PM
To: Bove, Emil (USANYS) <EBove@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lake,
Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Subject: Here is a draft letter




Michael Krouse
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, NY 10007
(212) 637-2279
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                      EXHIBIT A
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                                                                 Ex. A at 1
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                                                                 Ex. A at 2
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                                                                 Ex. A at 3
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                                                                 Ex. A at 4
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                                                                 Ex. A at 5
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                                                                 Ex. A at 6
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                                                                 Ex. A at 7
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                                                                 Ex. A at 8
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                                                                 Ex. A at 9
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                                                                Ex. A at 10
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                                                                Ex. A at 11
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                                                                Ex. A at 12
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                                                                Ex. A at 13
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                                                                Ex. A at 14
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                                                                Ex. A at 15
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                                                                Ex. A at 16
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                                                                Ex. A at 17
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                                                                Ex. A at 18
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                                                                Ex. A at 19
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                                                                Ex. A at 20
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                                                                Ex. A at 21
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                                                                Ex. A at 22
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                                                                Ex. A at 23
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                                                                Ex. A at 24
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                                                                Ex. A at 25
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Venezuela Housing Case



                                                                                      1




                                                                        Ex. A at 26
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I. Introduction
II. USD Payments
III. Potential Charges
IV. Company Structure
V. Individuals
VI. Proof of Payment
VII. Knowledge of Sanctions/Efforts to Hide Iranian Connection


                                                                                                  2




                                                                                    Ex. A at 27
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                         Theory of the Case


• Iranian construction company builds houses in Venezuela pursuant to
  a bilateral agreement between the governments of Iran and
  Venezuela and receives more than $100 million in payments through
  front companies and accounts in violation of US sanctions, causing
  the filing of false business records with New York banks which omit
  the true nature and beneficiary of the payments.




                                                                                                  3




                                                                                    Ex. A at 28
               Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 226 of 267




                             II. USD Payments
• Evidence of 15 USD payments clearing through NY County between
  April 2011 and November 2013
• Total amount cleared: $115,508,527.28
• Payments sent from PDVSA/VE government‐controlled accounts to
  accounts at Hyposwiss and Falcon Bank in Switzerland on behalf of
  IIHCO
   • 7 payments to Stratus International Contracting J.S. (AKA Straturk) account
   • 8 payments to Clarity Trade & Finance S.A. account



                                                                                                    4




                                                                                      Ex. A at 29
              Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 227 of 267




                                    EVIDENCE
• Emails (mostly from the Iranian side of the “Project”)

• Payment records (SWIFT messages and wires)

• Bank account records (limited)

• 2 possible fact witnesses (significant availability issues with both)

• Expert testimony (from banks, FED, and OFAC)

                                                                                                   5




                                                                                     Ex. A at 30
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      IV. Company Structure




                                                                                     6




                                                                       Ex. A at 31
                  Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 229 of 267




  Stratus International Contracting (“Stratus”)
• Established in 1978 in Tehran, Iran by Mohammad SADR
• Part of Samaneh Stratus/Stratus Holding
   • Iranian conglomerate that includes a bank (EN Bank) sanctioned in 2012 (removed in
     2016) and an oil company (Oriental Oil Kish) sanctioned in 2007
• Builds infrastructure projects in and outside of Iran
• Projects outside of Iran:
   •   Pakistan (highway)
   •   Yemen (airport)
   •   Djibouti (parliamentary building – ongoing in 2011)
   •   Venezuela (housing)
• Five member board of directors, including M. SADR, and Farshid KAZERANI

                                                                                                       7




                                                                                         Ex. A at 32
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• Stratus establishes a new subsidiary (IIHC) and a “Venezuela Project
  Executive Committee” in 2009 to manage and oversee the execution
  of the project in Venezuela.
• Committee members over time include:
   •   Mohammad SADR (Chairman)
   •   Ali SADR
   •   Behrooz ZANGENEH
   •   Ahmad SAFAVARDI
   •   Bahram KARIMI
   •   Mustafa CETINEL
   •   Ekrem CINAR

                                                                                                    8




                                                                                      Ex. A at 33
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                                                                                     9




                                                                       Ex. A at 34
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                                               V. Individuals
                                  Venezuela Committee (Iran)
                                 Chairman: Mohammad SADR
                  Members: Bahram KARIMI, Farshid KAZERANI, Ali SADR; Behrooz
                  ZANGENEH; Mustafa CETINEL; Ekrem CINAR; Ahmad SAFAVARDIi

                                               Hussein TEHRANI (Iran)
                                                Chairman/CEO/President of IIHC




                                               Farshid KAZERANI (Iran)
                                                General Manager of IIHCO
                              Member of the Board & project manager of Stratus Intl Contracting




                                                                           Behrooz ZANGENEH
                          Mustafa CETINEL                                        (Iran)
                           (Istanbul/VE)                                  Vice managing director of Stratus
                            Project Director                                    Intl Contracting, Iran
                                                                          Managing/General Director of IIHC


                                                                                                     Ahmad SAFAVARDI
                                                    Bahram KARIMI                                        (US/VE)
Ekrem CINAR (Turkey)                                                                               VP & Deputy Manager of IIHCO VE
   Vice Project Manager                                (Iran/VE)                                  Signs as Stratus Group Envoy to Latin
                                                        Project Manager                                          America
                                                                                                  signs as Contractor’s representative
                                                                                                       Stationed in California, US


                                                  Numerous Iranian IIHCO
                                                     employees in VE


                                          *Parentheticals indicate where people were
                                                                                                                                        10
                                           physically located at relevant time period




                                                                                                                          Ex. A at 35
                   Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 233 of 267




                             VI. Proof of Payment
• In an email dated December 30, 2010, Ali SADR sends B. KARIMI the USD account information “as
  requested:”




                                                                                                            11




                                                                                              Ex. A at 36
                                Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 234 of 267




                       Date         USD Amount         Sending Party          Intr BK‐1    Intr BK‐2   Intr BK‐3         Rec BK            Beneficiary
Instruction Letter                                  Petroleos De                                                   Hyposwiss
                                                    Venezuela SA         JPMorgan Chase                            Privatbank AG
and payment for                                     (PDVSA)              New York, NY                              Zurich, Switzerland Clarity Trade &
IPC 11‐13:           7/5/2011   $     20,692,579.48 Caracas, Venezuela   SWIFT: CHASUS33                           SWIFT: SHHBCHZZ Finance S.A.




                     ZANGENEH
                     signature
                                                                                                                                                                 12




                                                                                                                                                   Ex. A at 37
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                     Wire Sheet




                                                                                     13




                                                                       Ex. A at 38
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Bank Statement Attachment from April 11,
     2012 Email L. Estiroti to A. SADR




                                                                                           14




                                                                             Ex. A at 39
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July 6, 2011 Email A. SADR to M. CETINEL




                                                                                          15




                                                                            Ex. A at 40
                 Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 238 of 267




  VII. Knowledge of Sanctions/Efforts to Hide
              Iranian Connection
• Evidence establishes that M. Sadr and A. Sadr were both aware
  of US sanctions and had a nuanced understanding of their
  reach and effect.
  • Both have numerous emails which reference the existence of US sanctions
  • Several emails attach articles about US sanctions
  • An email includes the text of the “Comprehensive Iranian Sanctions Accountability and
    Divestment Act of 2010”
  • A. SADR is sent an email entitled “The Impact of US Sanctions Against Iran on You”
  • M. SADR’s comment is sought by a student doing research on US sanctions and Iranian
    businesses
  • Emails indicate that various payments, including salary to employees were blocked by
    American financial institutions due to sanctions (see, e.g. email of 3 July 2014 informing A.
    Sadr that a payment of 6,000USD to FARSHID KAZERANI “has been rejected by the
    intermediary bank.”)
  • M. SADR and Stratus Holding control one bank and one oil service company that were
    specifically designated as SDNs by OFAC

                                                                                                         16




                                                                                           Ex. A at 41
                    Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 239 of 267




     July 16, 2010 Email A. SADR to HBM Funds
• In an email to a fund manager who is assisting in an FX exchange from USD to Bolivars, in response to a
  “Know Your Customer” Inquiry about Clarity, A. SADR writes:




                                                                                                                 17




                                                                                                   Ex. A at 42
                  Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 240 of 267




    March 26, 2011 Email A. SADR to B. KARIMI
• An email exchange between A. SADR and B. KARIMI:




                                                                                                       18




                                                                                         Ex. A at 43
                    Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 241 of 267




        January 7, 2013 Email from A. SADR to P.
                        Rosiak
• Email to a representative from the business publication “The Businessyear.com”, A. SADR wrote:




                                                                                                                 19




                                                                                                   Ex. A at 44
                     Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 242 of 267




    July 3, 2014 Email from L. Estiroti to A. Sadr
• Email of July 3, 2014 from Ali’s assistant L. Estiroti to Ali alerting him that a payment to Kazerani was
  rejected:




                                                                                                                     20




                                                                                                       Ex. A at 45
      Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 243 of 267




October 24, 2011 Email from A. SADR to M.
                 Cetinel




                                                                                           21




                                                                             Ex. A at 46
                  Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 244 of 267




        March 7, 2011 Email from A. SADR to B.
                    ZANGENEH
• Email from A. SADR to B. ZANGANEH:




                                                                                                       22




                                                                                         Ex. A at 47
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                      EXHIBIT B
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                                                                 Ex. B at 1
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Thank you!

From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Wednesday, January 08, 2020 10:04 AM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: RE: Sadr ‐ wire transfers


1. Re: the first payment, there should be a copy of the SWIFT message in the Commerzbank production. In my
version of the subpoena compliance production it's a PDF titled "Copy".

2. Re: the identity of the intermediary bank, the bank whose business record the wire transfer is is the
intermediary bank, so the witness will be able to state that.

3. Also, for several of the payments, we have additional search warrant documents -- e.g., while we may just
have the wire transfer record from the clearing bank, we may also have a SWIFT message attached to an email,
or a Hyposwiss record, or some other document which identifies the payment route. When the dust settles on
the SW docs, we can reconstruct my old payments binders where I had all of the documents bundled together
for each payment (the payment instruction letter, the bank record(s), emails, attachments, etc.). This is what we
did for the GJ.



From: Lake, Stephanie (USANYS) [mailto:Stephanie.Lake@usdoj.gov]
Sent: Tuesday, January 7, 2020 6:19 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: FW: Sadr ‐ wire transfers

My original email had three attachments, which had to be sent to you securely. So you should be getting a secure
message with instructions on how to access it.

From: Lake, Stephanie (USANYS)
Sent: Tuesday, January 07, 2020 5:37 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4
<JKim4@usa.doj.gov>
Subject: Sadr ‐ wire transfers

See attached a spreadsheet (Payments) showing each transfer and where I found documentation. A few things:

   1) I didn’t find a wire confirmation for the 4/4/2011 $29 million transfer. I did find reference to it in the CHIPS
      subpoena returns. It seems to show that it went from “Fondo Chino‐Venezolano” to Stratus International
      Contracting (see attached two spreadsheets that show this). Garrett – do you know if we have a wire
      confirmation for that transfer?

   2) I noticed that the wire confirmations don’t generally show the U.S. intermediary bank on them. Is there other
      documentation I’m missing that has this information?

*All documents are saved here: \\Usa.doj.gov\cloud\NYS\StAndrews\Shared\Iran VEHousing‐
2017R01160\###Trial\Documents\Payment Records and here:
                                                             2
                                                                                                         Ex. B at 2
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\\Usa.doj.gov\cloud\NYS\StAndrews\Shared\Iran VEHousing‐2017R01160\Evidence [INT]\Discovery\#5 ‐ Subpoena
Returns\To Produce.

Also – Garrett, I was thinking that if you don’t already have the ability to remotely login to our network, we should have
that set up! That way the file paths above wouldn’t be useless to you.

Thanks!

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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                                                             3
                                                                                                         Ex. B at 3
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From:            Crowley, Shawn (USANYS)
To:              Bove, Emil (USANYS)
Subject:         RE: Here is a draft letter
Date:            Monday, March 09, 2020 10:15:58 PM


Good god I hope so


From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Sent: Monday, March 09, 2020 10:11 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley, Shawn
(USANYS) <SCrowley@usa.doj.gov>
Subject: RE: Here is a draft letter

Did we produce the “document in the material Fuenmayor gave us”?


From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Sent: Monday, March 9, 2020 10:10 PM
To: Bove, Emil (USANYS) <EBove@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>;
Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley, Shawn (USANYS)
<SCrowley@usa.doj.gov>
Subject: RE: Here is a draft letter

Attached.


From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Sent: Monday, March 9, 2020 9:58 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4
<JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley, Shawn (USANYS)
<SCrowley@usa.doj.gov>
Subject: RE: Here is a draft letter

Can you send me exs a and b please


From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Sent: Monday, March 9, 2020 8:40 PM
To: Bove, Emil (USANYS) <EBove@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Lake,
Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Subject: Here is a draft letter




Michael Krouse
Assistant United States Attorney
Southern District of New York
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One St. Andrew’s Plaza
New York, NY 10007
(212) 637-2279
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                  EXHIBIT 86
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From:                  Lake, Stephanie (USANYS)
To:                    Kim, Jane (USANYS) 4
Cc:                    Bove, Emil (USANYS); Krouse, Michael (USANYS); Crowley, Shawn (USANYS)
Subject:               Re: Here is a draft letter
Date:                  Monday, March 09, 2020 10:21:28 PM


Yes we produced the Fuenmayor documents.


       On Mar 9, 2020, at 10:16 PM, Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
       wrote:


       ﻿
       Attaching email to OFAC. Will confirm Fuenmayor doc.



       From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
       Sent: Monday, March 9, 2020 10:11 PM
       To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
       <MKrouse@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley,
       Shawn (USANYS) <SCrowley@usa.doj.gov>
       Subject: RE: Here is a draft letter

       Did we produce the “document in the material Fuenmayor gave us”?


       From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
       Sent: Monday, March 9, 2020 10:10 PM
       To: Bove, Emil (USANYS) <EBove@usa.doj.gov>; Krouse, Michael (USANYS)
       <MKrouse@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley,
       Shawn (USANYS) <SCrowley@usa.doj.gov>
       Subject: RE: Here is a draft letter

           Attached.


       From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
       Sent: Monday, March 9, 2020 9:58 PM
       To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4
       <JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley,
       Shawn (USANYS) <SCrowley@usa.doj.gov>
       Subject: RE: Here is a draft letter

           Can you send me exs a and b please


           From: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
           Sent: Monday, March 9, 2020 8:40 PM
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 To: Bove, Emil (USANYS) <EBove@usa.doj.gov>; Kim, Jane (USANYS) 4
 <JKim4@usa.doj.gov>; Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Crowley,
 Shawn (USANYS) <SCrowley@usa.doj.gov>
 Subject: Here is a draft letter




 Michael Krouse
 Assistant United States Attorney
 Southern District of New York
 One St. Andrew’s Plaza
 New York, NY 10007
 (212) 637-2279

 <mime-attachment>
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                  EXHIBIT 87
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From:            Krouse, Michael (USANYS)
To:              Bove, Emil (USANYS)
Cc:              Crowley, Shawn (USANYS)
Subject:         RE: OFAC letter diligence
Date:            Monday, March 09, 2020 10:22:25 PM


         At approximately 6:00 p.m. on March 8, 2020, SDNY contacted OFAC in an effort to
determine what, if anything, OFAC did in response to the letter from Commerzbank reflected in GX
411. During telephone calls today, OFAC reported that it has searched its database of
correspondence, and was unable to find a copy of the letter. OFAC reported further that the
absence of GX 411 from this database at the present time may have been caused by modifications to
the database in approximately 2012. In addition to searching the database, OFAC asked personnel in
OFAC’s Enforcement, Compliance, and Global Targeting components if they were familiar with the
letter. As of approximately 5:00 p.m. tonight, OFAC had not identified any employees who were
familiar with the letter or any investigative or enforcement steps taken by OFAC with respect to the
letter.



From: Bove, Emil (USANYS) <EBove@usa.doj.gov>
Sent: Monday, March 9, 2020 10:20 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Cc: Crowley, Shawn (USANYS) <SCrowley@usa.doj.gov>
Subject: OFAC letter diligence

Can you fill this in and add any more detail you got from the call? Thanks

        At approximately 6:00 p.m. on March 8, 2020, SDNY contacted OFAC in an effort to
determine what, if anything, OFAC did in response to the letter from Commerzbank reflected in GX
411. During telephone calls today, OFAC reported that it has searched its database of
correspondence, and was unable to find a copy of the letter. OFAC reported further that the
absence of GX 411 from this database at the present time may have been caused by modifications to
the database in approximately 2012. In addition to searching the database, OFAC asked personnel in
OFAC’s Enforcement, [XX], and [XX] components if they were familiar with the letter. As of [TIME],
OFAC had not identified any employees who were familiar with the letter or any investigative or
enforcement steps taken by OFAC with respect to the letter.
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                  EXHIBIT 88
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From:            Bove, Emil (USANYS)
To:              Crowley, Shawn (USANYS)
Subject:         2020.03.09 Letter re OFAC contacts.EB3.docx
Date:            Monday, March 09, 2020 10:24:27 PM
Attachments:     2020.03.09 Letter re OFAC contacts.EB3.docx


Want to take a look at the intro part with the meat of the reps? I think then we sent to Audrey / HBC
/ Laura and continue editing while team verifies
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                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
Septe                                                Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     March 9, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

        Re:    United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

         The Government writes to provide further facts regarding (1) the prosecution team’s
contacts with the United States Department of Treasury’s Office of Foreign Assets Control
(“OFAC”) regarding the defendant, the defendant’s entities, and the banks that processed the
payments at issue in this case, and (2) the circumstances surrounding the Government’s untimely
production of the June 16, 2011 letter from Commerzbank to OFAC currently marked for
identification as GX 411. At the outset, the Government reiterates its earlier concessions of error
in failing to timely produce GX 411, and failing to make accurate disclosures regarding the status
of the document on March 7 and March 8, 2020. If the defense wishes to offer GX 411 as a defense
exhibit, the Government will stipulate to the authenticity of the document and consents to the
curative instruction proposed by the defense yesterday (see Dkt. [X]). The Government is also
prepared to execute the stipulation that defense counsel proposed this afternoon, and to consider
reasonable modifications to the stipulation based on the disclosures contained in this letter.

         I.    The Government’s Review

       In response to the questions raised by the Court and counsel this morning, the unit
supervisors overseeing this prosecution—Emil Bove and Shawn Crowley—communicated with
the AUSAs previously assigned to this case—Andrew DeFilippis, David Denton, Rebekah
Donaleski, and Matthew Laroche—and the current prosecution team: AUSAs Jane Kim, Michael
Krouse, Stephanie Lake, and Special Assistant United States (“SAUSA”) Attorney Garrett Lynch. 1
Based on the supervisors’ instructions, today these eight prosecutors reviewed emails, network



1
  SAUSA Lynch is employed full-time with the District Attorney’s Office of New York
(“DANY”) as an Assistant District Attorney (“ADA”).
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folders, hard copy files, and notes, for materials reflecting communications or correspondence with
OFAC.

        Based on today’s review, the undersigned represent to the Court and counsel that (1) the
eight prosecutors did not at any point inquire of any OFAC employee about whether and to what
extent OFAC considered or pursued regulatory enforcement action against the defendant, the
defendant’s entities, or the banks at issue based on their processing of the payments in this case
(including but not limited to Commerzbank), and (2) the seven AUSAs were unaware of GX 411
prior to January 10, 2020, when SAUSA Lynch transmitted it to AUSAs Lake, Kim, and Krouse
via email. In connection with today’s review, SAUSA Lynch identified email communications
with OFAC personnel that the Government produced to the defense for the first time tonight at
7:25 p.m. because they reflect somewhat substantive communications with OFAC regarding the
case. 2 The emails at issue are attached as Exhibit A. During the course of the communications
reflected in these emails, SAUSA Lynch did not discuss GX 411 or Commerzbank’s role in this
case with anyone at OFAC.

        II.    The Commerzbank Investigation

        In January 2012, while at DANY, SAUSA Lynch was assigned to work on an ongoing
investigation into Commerzbank, which had commenced in approximately January 2011 and
involved the United States Department of Justice (“DOJ”), the U.S. Attorney’s Office for the
Southern District of New York (“SDNY”), 3 OFAC, and the Board of Governors of the Federal
Reserve System. The investigation focused on Commerzbank’s violations of U.S. sanctions laws
and regulations, including violations of the International Emergency Economic Powers Act
(IEEPA) and the Bank Secrecy Act as well as OFAC sanctions programs targeting Iran, between
approximately period 2002 and 2008. During the course of the investigation of Commerzbank,
Commerzbank provided to DANY 15 voluntary disclosures that the Commerzbank branch in New
York City sent OFAC between March 2010 and October 2014. GX 411 was one such disclosure.




2
  The AUSAs identified additional communications with OFAC personnel, but they related
principally to OFAC’s verification that it did not issue licenses relevant to this case and to the
preparation of OFAC witness Ted Kim.
3
  The AUSAs who participated in the investigation at issue in this case did not participate in the
investigation of Commerzbank on behalf of the United States. One of the AUSAs participated in
the investigation while in private practice prior to joining SDNY.
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In March 2015, Commerzbank entered into a deferred prosecution agreement with DOJ, SDNY,
DANY, OFAC, and the Federal Reserve. 4

       III.   The Investigation of the Defendant

        In May 2015, SAUSA Lynch was assigned to work on the DANY investigation related to
the defendant. On or about August 31, 2015, DANY issued a subpoena to Commerzbank’s New
York branch in connection with the investigation of the defendant, which requested the following:




Ex. A at 4. In October 2015, Commerzbank provided DANY with records in response to the
subpoena, which the Government produced to the defense during Rule 16 discovery in this case.
GX 411 does not appear to be responsive to the subpoena, and Commerzbank did not re-produce
GX 411 to DANY in response to the subpoena.

        On May 19, 2016, SAUSA Lynch spoke to a supervisory enforcement officer at OFAC
(“OFAC Officer-1”) with whom he had dealt on past cases involving U.S. sanctions laws and
OFAC regulations. Ex. A at 6. During that call, SAUSA Lynch outlined the general facts of the
case and solicited OFAC Officer-1’s informal thoughts about whether the conduct under
investigation potentially violated U.S. sanctions laws and regulations. OFAC Officer-1 confirmed
that the facts outlined by SAUSA Lynch would constitute a violation.

       On August 1, 2016, when DANY was preparing to present the case to a grand jury in New
York County, SAUSA Lynch sent OFAC Officer-1 an email. Ex. A. at 7. In the email, SAUSA
Lynch asked OFAC Officer-1 about the possibility of arranging for an OFAC witness to provide
grand jury testimony. SAUSA Lynch also offered in the email “to provide you with information

4
  See https://www.justice.gov/opa/pr/commerzbank-ag-admits-sanctions-and-bank-secrecy-
violations-agrees-forfeit-563-million-and; see also
https://www.justice.gov/sites/default/files/opa/press-
releases/attachments/2015/03/12/commerzbank_deferred_prosecution_agreement_1.pdf.
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so you can take action on your own if so desired.” Id. On August 2, 2016, OFAC Officer-1
responded and introduced his management team, including a Section Chief (the “Section Chief”).
Ex. A at 8.

        On or about August 5, 2016, SAUSA Lynch participated in a phone call with the Section
Chief and two other OFAC enforcement officers. Ex. A at 10. During this call, SAUSA Lynch
briefed OFAC on the general facts of the investigation into Mr. Sadr’s alleged conduct.

        DANY and the Federal Bureau of Investigation ultimately decided to pursue federal
charges at SDNY rather than proceeding with the new York State grand jury investigation. In June
2017, SAUSA Lynch was appointed as a SAUSA at SDNY. Between July 12, 2017 and September
20, 2017, SAUSA Lynch and OFAC Officer-1 exchanged a series of emails. See Ex. A at 12-14.
During those emails, SAUSA Lynch informed OFAC Officer-1 that he had been designated a
SAUSA, and raised the possibility of arranging a phone call in July to discuss the ongoing
investigation. The phone call did not happen until September 21, 2017. See Ex. A at 12 (“This
call with SDNY that I tried to set up back in July never happened.”). On that day, SAUSA Lynch
spoke to OFAC Officer-1. Ex. A at 11. During that call, SAUSA Lynch summarized his
understanding of the then-existing evidence in this case and solicited OFAC Officer-1’s thoughts
regarding the potential for federal charges. Following the call, SAUSA Lynch sent OFAC Officer-
1 a PowerPoint presentation outlining some of the evidence in the case. Id.; see Ex. A at 26-47
(the “Presentation”). OFAC Officer-1 responded: “[T]hanks for passing along the information
below/attached. We’ll take a look and will get back to you.” Id.

        On September 26, 2017, OFAC Officer-1 responded again to the email attaching the
Presentation, this time copying the Section Chief, another OFAC enforcement officer, and AUSA
Laroche. Ex. A at 15. OFAC Officer-1 thanked SAUSA Lynch for “passing along the slide deck.”
OFAC Officer-1 stated that the two other OFAC officials copied would “coordinate with you on
next steps or follow-up with any questions they have.” Id. SAUSA Lynch does not recall anyone
from OFAC following up with SAUSA Lynch to discuss next steps or questions.

        On March 28, 2019, after an unrelated phone call with OFAC Officer-1 during which this
case was mentioned, OFAC Officer-1 sent SAUSA Lynch an email. Ex. A at 16. Attached to the
email were two documents related to a public enforcement action OFAC had taken with a fact
pattern that OFAC Officer-1 believed to be similar to this case. Id. at 17-25.

         On January 10, 2020, while preparing for trial, AUSA Stephanie Lake sent an email to
SAUSA Lynch, copying AUSAs Jane Kim and Michael Krouse. See Ex. B. AUSA Lake’s email
mentioned the April 4, 2011 wire transfer from Fondo Cino to Stratus International Contracting
J.S. for $29 million. AUSA Lake stated a document previously provided by a witness “should be
helpful in tying the wire information we have showing the Fondo Chino transfer to PDVSA.”
AUSA Lake’s email triggered for SAUSA Lynch a recollection of GX 411. That same day,
SAUSA Lynch located GX 411 in a file at his DANY office that contained Commerzbank’s
voluntary disclosures from 2015. SAUSA Lynch then sent an email to AUSA Lake, copying
AUSAs Kim and Krouse, which attached GX 411 and said: “In the spirit of closing the loop on
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the $29M payment through Commerz, attached is the voluntary disclosure Commerze (sic) made
to OFAC re: the payment.” None of the three AUSAs responded to SAUSA Lynch’s email.

        AUSA Lake recalls speaking to SAUSA Lynch on the phone briefly about GX 411 soon
after SAUSA Lynch sent his January 10, 2020 email. Neither AUSA Lake nor SAUSA Lynch
recall the substance of the call, other than that it was brief. At the time of the January 10, 2020
email, AUSAs Lake, Kim, Krouse, and SAUSA Lynch did not realize GX 411 had not been
produced in Rule 16 discovery, and failed to check whether it had been. AUSAs Lake, Kim,
Krouse, and SAUSA Lynch do not recall any other conversations about GX 411 between January
10, 2020 and March 6, 2020. GX 411 was not produced to the defense or marked as a Government
Exhibit before trial.

        On March 6, 2020, AUSA Lake found the January 10, 2020 email from SAUSA Lynch
while organizing her emails. After reviewing GX 411, AUSA Lake looked at the Commerzbank
subpoena production, and discovered that GX 411 was not included. The next morning, AUSA
Lake consulted with the other members of the prosecution team, and concluded that GX 411 had
not been produced to the defense. At that time, AUSAs Lake, Kim, Krouse, and SAUSA Lynch
viewed GX 411 as an inculpatory document and decided to seek to admit GX 411 during the
Government’s case in chief. AUSA Lake sent the document, along with others, to the defense.
The transmittal email failed to disclose that GX 411 had not been produced previously, and there
is no dispute that was a failure in judgment on the part of the undersigned.

       IV.     OFAC’s Handling of GX 411

        At approximately 6:00 p.m. on March 8, 2020, SDNY contacted OFAC in an effort to
determine what, if anything, OFAC did in response to the letter from Commerzbank reflected in
GX 411. During telephone calls today, OFAC reported that it has searched its database of
correspondence, and was unable to find a copy of the letter. OFAC reported further that the
absence of GX 411 from this database at the present time may have been caused by modifications
to the database in approximately 2012. In addition to searching the database, OFAC asked
personnel in OFAC’s Enforcement, Compliance, and Global Targeting components if they were
familiar with the letter. As of approximately 5:00 p.m. tonight, OFAC had not identified any
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employees who were familiar with the letter or any investigative or enforcement steps taken by
OFAC with respect to the letter.

                                                    Respectfully submitted,
                                                    GEOFFREY S. BERMAN
                                                    United States Attorney

                                              By:          /s/
                                                    Jane Kim / Michael Krouse / Stephanie Lake
                                                       Assistant United States Attorneys
                                                    Garrett Lynch
                                                       Special Assistant United States Attorney
                                                    (212) 637-2038 / 2279 / 1066

cc: Defense Counsel (by ECF)
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                  EXHIBIT 89
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From:          Crowley, Shawn (USANYS)
To:            Bove, Emil (USANYS)
Subject:       2020.03.09 Letter re OFAC contacts.EB3 sgc.docx
Date:          Monday, March 09, 2020 10:40:10 PM
Attachments:   2020.03.09 Letter re OFAC contacts.EB3 sgc.docx
     Case 1:18-cr-00224-AJN Document 401-4 Filed 02/22/21 Page 267 of 267
                                         U.S. Department of Justice
[Type text]
                                                     United States Attorney
Septe                                                Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     March 9, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

        Re:    United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

         The Government writes to provide further facts regarding (1) the prosecution team’s
contacts with the United States Department of Treasury’s Office of Foreign Assets Control
(“OFAC”) regarding the defendant, the defendant’s entities, and the banks that processed the
payments at issue in this case, and (2) the circumstances surrounding the Government’s untimely
production of the June 16, 2011 letter from Commerzbank to OFAC currently marked for
identification as GX 411. At the outset, the Government reiterates its earlier concessions of error
in failing to timely produce GX 411, and failing to make accurate disclosures regarding the status
of the document on March 7 and March 8, 2020. If the defense wishes to offer GX 411 as a defense
exhibit, the Government will stipulate to the authenticity of the document and consents to the
curative instruction proposed by the defense yesterday (see Dkt. [X]). The Government is also
prepared to execute the stipulation that defense counsel proposed this afternoon, and to consider
reasonable modifications to the stipulation based on the disclosures contained in this letter.

         I.    The Government’s Review

       In response to the questions raised by the Court and counsel this morning, the unit
supervisors overseeing this prosecution—Emil Bove and Shawn Crowley—communicated with
the AUSAs previously assigned to this case—Andrew DeFilippis, David Denton, Rebekah
Donaleski, and Matthew Laroche—and the current prosecution team: AUSAs Jane Kim, Michael
Krouse, Stephanie Lake, and Special Assistant United States (“SAUSA”) Attorney Garrett Lynch. 1
Based on the supervisors’ instructions, today these eight prosecutors reviewed emails, network



1
  SAUSA Lynch is employed full-time with the District Attorney’s Office of New York
(“DANY”) as an Assistant District Attorney (“ADA”).
